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              EXHIBIT 12
              EXHIBIT 12
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      White House
      White       Press Secretary
            House Press Secretary Sean
                                  Sean Spicer
                                       Spicer holds
                                              holds his daily briefing with
                                  reporters.
                                  reporters.
                                                        Federal
                                                        Federal News Service
                                                                News Service
                                                    February
                                                    February 14, 2017 Tuesday
                                                             14, 2017 Tuesday


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Length: 8459
Length: 8459 words
             words

Body
Body


                  Subject: White
                  Subject: White House
                                 House

Participants: White
Participants: White House Press Secretary
                    House Press Secretary Sean
                                          Sean Spicer
                                               Spicer

Location: The
Location:     White House,
          The White House, Brady
                           Brady Press
                                 Press Briefing
                                       Briefing Room
                                                Room

Time: 13:00:00
Time: 13:00:00

Date: 2017-02-14
Date: 2017-02-14

SPICER: Good
SPICER:  Good afternoon.
               afternoon. Happy     Valentine's Day.
                            Happy Valentine's   Day. II can
                                                        can sense the love
                                                            sense the love in
                                                                           in the
                                                                              the room
                                                                                  room room.
                                                                                       room. First
                                                                                              First off,
                                                                                                    off, last
                                                                                                         last night
                                                                                                              night the
                                                                                                                    the
Treasury Department's
Treasury Department's Office
                        Office of
                               of Foreign Asset Control,
                                  Foreign Asset Control, OFAC,  labeled the
                                                          OFAC, labeled the Venezuelan
                                                                            Venezuelan vice
                                                                                        vice president
                                                                                             president asas a
                                                                                                            a specially
                                                                                                              specially
designated narcotics
designated narcotics trafficker
                     trafficker under
                                under the
                                      the Kingpin Act.
                                          Kingpin Act.

Before II continue
Before    continue with
                   with the
                        the briefing
                            briefing and look forward
                                     and look forward to
                                                      to your questions, II want
                                                         your questions,    want to
                                                                                 to turn
                                                                                    turn it
                                                                                         it over
                                                                                            over for
                                                                                                 for a
                                                                                                     a short
                                                                                                       short time
                                                                                                             time to
                                                                                                                  to newly
                                                                                                                     newly
minted secretary
minted   secretary of
                   of the
                      the Treasury   Steven Mnuchin
                          Treasury Steven    Mnuchin to
                                                      to take
                                                         take -- to issue
                                                              -- to issue aa brief
                                                                             brief statement
                                                                                   statement onon this
                                                                                                   this and  deliver a
                                                                                                        and deliver  a few
                                                                                                                       few
questions.
questions.

Secretary Mnuchin?
Secretary Mnuchin?

MNUCHIN: Pleasure
MNUCHIN:     Pleasure toto be
                            be here
                               here onon my
                                         my first
                                              first busy
                                                    busy day  in office.
                                                         day in   office. Yesterday,
                                                                          Yesterday, the
                                                                                     the Department
                                                                                          Department of of Treasury's
                                                                                                           Treasurys Office     of
                                                                                                                         Office of
Foreign Asset
Foreign  Asset Control,
                 Control, known
                            known as as OFAC,
                                         OFAC, designated       Venezuelan national,
                                                   designated Venezuelan       national, Tareck
                                                                                         Tareck ElEl Aissami,
                                                                                                      Aissami, as as a
                                                                                                                     a specially
                                                                                                                         specially
designated narcotic
designated   narcotic trafficker
                      trafficker pursuant
                                 pursuant toto the
                                                the Foreign
                                                    Foreign Narcotics    Kingpin Designation
                                                            Narcotics Kingpin    Designation Act
                                                                                              Act for
                                                                                                  for playing
                                                                                                      playing a   significant role
                                                                                                               a significant  role
in international
in international narcotics
                 narcotics trafficking.
                             trafficking. Aissami's
                                          Aissami's primary
                                                      primary frontman
                                                                frontman Venezuelan
                                                                            Venezuelan national,   Samark Lopez
                                                                                         national, Samark     Lopez Bello,
                                                                                                                      Bello, was
                                                                                                                              was
also designated.
also designated. These
                  These designations
                           designations follow
                                          follow aa multiyear
                                                    multiyear investigation
                                                              investigation into
                                                                             into Aissami's
                                                                                  Aissami's criminal
                                                                                             criminal activities.
                                                                                                      activities.

And President
And  President Trump
                Trump appreciated
                       appreciated the
                                    the hard
                                        hard work
                                             work put
                                                   put into
                                                       into this
                                                            this case
                                                                 case by
                                                                       by the
                                                                          the Department of Treasury,
                                                                              Department of Treasury, Department of
                                                                                                      Department of
State, as
State, as well as the
          well as the National Security Council
                      National Security Council and many people
                                                and many   people throughout
                                                                   throughout law
                                                                              law enforcement.
                                                                                  enforcement.

Following the
Following the signing
              signing of
                      of the
                          the executive
                              executive order
                                         order last
                                               last week,
                                                    week, designing
                                                           designing to
                                                                      to break
                                                                         break the
                                                                               the back
                                                                                   back ofof criminal
                                                                                             criminal drug
                                                                                                       drug cartels,
                                                                                                            cartels, this
                                                                                                                     this
action demonstrates
action demonstrates the
                    the president's
                         president's seriousness
                                     seriousness about
                                                  about fighting
                                                        fighting the
                                                                 the scourge of drugs
                                                                     scourge of drugs in
                                                                                      in the
                                                                                         the United
                                                                                              United States.
                                                                                                      States.

In addition, he
In addition, he wants
                wants to
                      to send
                         send a
                              a clear
                                clear message
                                      message to
                                              to the
                                                 the people
                                                     people of
                                                            of Venezuela
                                                               Venezuela that
                                                                         that America
                                                                              America stands
                                                                                      stands with them.
                                                                                             with them.

And with
And with that,
         that, I'm happy to
               I'm happy to take
                            take two
                                 two or
                                     or three
                                        three questions
                                              questions specifically
                                                        specifically about
                                                                     about this.
                                                                           this.

QUESTION: Secretary
QUESTION:   Secretary Mnuchin, since sanctions
                      Mnuchin, since sanctions are
                                               are directly
                                                   directly relevant,
                                                             relevant, obviously,
                                                                       obviously, to
                                                                                  to the
                                                                                     the Treasury
                                                                                         Treasury Department,    which
                                                                                                  Department, which
is an
is an agency
      agency that
             that you
                  you now
                      now oversee,
                           oversee, can
                                     can you  talk a
                                         you talk    little bit
                                                   a little bit about
                                                                about plans
                                                                       plans to
                                                                             to sanction
                                                                                sanction Russia,
                                                                                           Russia, and if you'll
                                                                                                   and if you'll keep
                                                                                                                  keep
Obama-era sanctions
Obama-era  sanctions on
                     on Russia?
                        Russia?
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

MNUCHIN: Our
MNUCHIN:         current sanctions
            Our current  sanctions programs
                                   programs are   in place,
                                              are in place, and
                                                            and II would
                                                                   would say
                                                                         say sanctions
                                                                              sanctions are an important
                                                                                        are an important tool
                                                                                                          tool that
                                                                                                               that we
                                                                                                                    we
will continue
will continue to
              to look
                 look at  for various
                       at for various different countries. But
                                      different countries.  But ifs
                                                                it's a
                                                                     a very  important program
                                                                       very important            within the
                                                                                        program within  the Treasury
                                                                                                             Treasury
Department.
Department.

QUESTION: For
QUESTION:     Russia specifically,
          For Russia specifically, though?
                                   though?

MNUCHIN: The
MNUCHIN: The existing
             existing policies are in
                      policies are in place.
                                      place.

QUESTION: Mr.
QUESTION:     Secretary.
          Mr. Secretary.

MNUCHIN: Yes.
MNUCHIN: Yes.

QUESTION: Are
QUESTION:    Are you
                 you contemplating  any additional
                      contemplating any              sanctions against
                                          additional sanctions against Iran? And can
                                                                       Iran? And can you
                                                                                     you tell
                                                                                         tell us
                                                                                              us what
                                                                                                 what you  think the
                                                                                                       you think the
bottom line
bottom line will
            will be
                 be at
                     at these
                        these particular
                              particular sanctions    you announced
                                          sanctions you                yesterday, and
                                                           announced yesterday,       are referring
                                                                                  and are  referring today,
                                                                                                     today, for
                                                                                                             for the
                                                                                                                 the
Venezuelan vice
Venezuelan  vice president?
                 president? What
                            What does
                                  does it
                                       it (ph) mean?
                                          (ph) mean?

MNUCHIN: First,
MNUCHIN:        let me
         First, let me just
                       just comment,
                            comment, again,
                                     again, this
                                            this is
                                                 is as a result
                                                    as a result of
                                                                of a
                                                                   a very long effort...
                                                                     very long effort...

QUESTION: Did
QUESTION:     you inherit
          Did you inherit the
                          the (ph) investigation, by
                              (ph) investigation, by the
                                                     the way?
                                                         way?

MNUCHIN: Yes,
MNUCHIN: Yes, this
              this was underway. This
                   was underway. This was very long
                                      was very long effort.
                                                    effort.

But the
But the implication
        implication is
                     is quite
                        quite significant.  We expect
                               significant. We  expect that
                                                       that there
                                                            there will
                                                                  will be
                                                                       be frozen
                                                                          frozen tens
                                                                                 tens of
                                                                                       of millions
                                                                                          millions of
                                                                                                   of dollars,
                                                                                                       dollars, and
                                                                                                                  and again,  that
                                                                                                                       again, that
sanctions are
sanctions  are aa very
                   very important
                         important way
                                     way ofof us
                                              us sending
                                                 sending aa message
                                                             message that
                                                                        that we
                                                                             we will
                                                                                 will not
                                                                                      not stand
                                                                                          stand for
                                                                                                 for illicit
                                                                                                      illicit activities,
                                                                                                              activities, whether
                                                                                                                          whether
they're drug
they're      trafficking or
        drug trafficking  or terrorism.
                             terrorism.

QUESTION: Secretary,
QUESTION: Secretary, including
                     including sanctions,
                               sanctions, what
                                          what other
                                               other tools
                                                     tools are
                                                           are you
                                                               you looking
                                                                   looking at?
                                                                           at?

MNUCHIN: II can't
MNUCHIN:            comment on
              can't comment    all the
                            on all the tools,
                                       tools, but
                                              but again,
                                                  again, let
                                                         let me
                                                             me just
                                                                just reinforce that sanctions
                                                                     reinforce that sanctions are
                                                                                              are a
                                                                                                  a very
                                                                                                    very important
                                                                                                         important tool
                                                                                                                   tool
within the
within the department,
           department, and
                       and we
                           we will
                              will use
                                   use them
                                       them asas appropriate.
                                                 appropriate.

(CROSSTALK)
(CROSSTALK)

MNUCHIN: In
MNUCHIN:        this case,
             In this case, we
                           we did  freeze assets.
                              did freeze  assets. Again,
                                                  Again, as
                                                         as II mentioned, tens of
                                                               mentioned, tens of millions of dollars
                                                                                  millions of dollars of
                                                                                                      of assets,
                                                                                                         assets, and
                                                                                                                 and that
                                                                                                                     that
will have
will have a
          a very
            very big
                  big impact
                      impact on
                             on this.
                                this.

So II will
So    will take
           take one
                one more
                    more question, please.
                         question, please.

Yes, in
Yes, in the
        the back?
            back?

QUESTION: During
QUESTION:     During the
                       the campaign,
                           campaign, the
                                       the president
                                            president had
                                                       had made  comments about
                                                           made comments     about Janet   Yellen and
                                                                                    Janet Yellen  and whether
                                                                                                      whether --  basically
                                                                                                               -- basically
inferring that
inferring that she
                she was
                     was being
                           being too
                                  too political,
                                        political, she
                                                   she should
                                                        should be
                                                               be ashamed
                                                                    ashamed ofof herself.
                                                                                  herself. Do
                                                                                           Do the
                                                                                               the folks
                                                                                                   folks at
                                                                                                          at the
                                                                                                             the Treasury
                                                                                                                  Treasury
Department within
Department           the administration
             within the   administration feel
                                          feel confident
                                                confident with
                                                          with Mrs. Yellen at
                                                               Mrs. Yellen    the helm,
                                                                           at the  helm, and  you know,
                                                                                         and you  know, to
                                                                                                         to be
                                                                                                            be able
                                                                                                               able to
                                                                                                                     to set
                                                                                                                        set
monetary policy
monetary   policy going
                  going forward?
                         forward?

MNUCHIN: Well,
MNUCHIN: Well, let
               let me
                   me just
                      just comment,
                           comment, I'm really here
                                    I'm really here today,
                                                    today, again, to talk
                                                           again, to talk about
                                                                          about the
                                                                                the Venezuelan
                                                                                    Venezuelan situation.
                                                                                               situation.

But let
But let me
        me just
           just say
                say that
                    that there
                         there is
                                is a
                                   a tradition
                                     tradition of
                                                of the
                                                   the secretary
                                                       secretary ofof Treasury   having ongoing
                                                                      Treasury having    ongoing meetings
                                                                                                 meetings with
                                                                                                           with the
                                                                                                                the head
                                                                                                                    head of
                                                                                                                         of
the Federal
the Federal Reserve.  And II look
            Reserve. And     look forward
                                  forward toto that
                                               that now
                                                    now that
                                                         that II am in office,
                                                                 am in office, doing
                                                                               doing that,
                                                                                     that, and
                                                                                           and spending
                                                                                               spending time
                                                                                                        time with
                                                                                                             with her.
                                                                                                                  her.

Thank you
Thank you very
          very much,
               much, everybody.
                     everybody. It's pleasure to
                                It's pleasure to be
                                                 be here
                                                    here on
                                                         on my
                                                            my first
                                                               first day.
                                                                     day.

SPICER: Thank
SPICER:       you, Mr.
        Thank you,     Secretary.
                   Mr. Secretary.

MNUCHIN: Thank
MNUCHIN: Thank you.
               you.

SPICER: All
SPICER:  All right,
             right, let's
                    let's get
                          get back
                              back to
                                   to the
                                      the fun.
                                          fun. We
                                               We have
                                                  have been
                                                       been reviewing
                                                            reviewing --
                                                                      -- II want to address
                                                                            want to address the
                                                                                            the events
                                                                                                events of last night
                                                                                                       of last night first
                                                                                                                     first
and foremost.
and foremost.
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

SPICER: We
SPICER:    We have
                have been  reviewing and
                      been reviewing  and evaluating  this issue
                                           evaluating this issue with respect to
                                                                 with respect to General
                                                                                 General Flynn   on a
                                                                                          Flynn on     general basis
                                                                                                    a general   basis for
                                                                                                                       for a
                                                                                                                           a
few weeks
few  weeks trying
            trying to
                   to ascertain
                      ascertain the
                                the truth.
                                    truth. We
                                           We got
                                              got to
                                                  to a
                                                     a point
                                                       point not
                                                             not based
                                                                 based on
                                                                        on a
                                                                           a legal
                                                                             legal issue,
                                                                                   issue, but
                                                                                          but based
                                                                                              based on
                                                                                                     on aa trust
                                                                                                           trust issue
                                                                                                                 issue with
                                                                                                                        with
the level
the level of
          of trust
             trust between
                   between the
                            the president
                                president and
                                           and General   Flynn had
                                                General Flynn   had eroded
                                                                    eroded to
                                                                            to the
                                                                               the point
                                                                                   point where  he felt
                                                                                         where he  felt he
                                                                                                        he had
                                                                                                            had to
                                                                                                                 to make
                                                                                                                    make a a
change. The
change.        president was
          The president  was very
                              very concerned
                                   concerned that
                                               that General
                                                    General Flynn
                                                             Flynn had
                                                                   had misled
                                                                        misled the
                                                                               the vice
                                                                                   vice president
                                                                                        president and
                                                                                                  and others.
                                                                                                        others.

He was
He was also
        also very
             very concerned
                  concerned in in light
                                  light of
                                        of sensitive subjects dealt
                                           sensitive subjects   dealt with
                                                                       with by
                                                                            by that
                                                                               that position
                                                                                    position of
                                                                                              of national
                                                                                                 national security
                                                                                                          security advisors
                                                                                                                   advisors like
                                                                                                                             like
China, North
China, North Korea,   and the
              Korea, and    the Middle     East, that
                                 Middle East,    that the
                                                       the president
                                                            president must
                                                                        must have
                                                                              have complete
                                                                                     complete andand unwavering
                                                                                                      unwavering trust
                                                                                                                   trust for
                                                                                                                         for the
                                                                                                                             the
person in
person in that
          that position.
               position. The   evolving and
                          The evolving     and eroding    level of
                                               eroding level    of trust
                                                                    trust as
                                                                          as a
                                                                             a result
                                                                               result of
                                                                                       of this
                                                                                          this situation
                                                                                               situation and a series
                                                                                                         and a  series of
                                                                                                                        of other
                                                                                                                           other
questionable instances
questionable instances isis what
                            what led
                                 led the
                                      the president   to ask
                                           president to       for a
                                                         ask for  a General
                                                                     General Flynn's  resignation.
                                                                             Flynn's resignation.

Immediately   after the
Immediately after   the Department
                        Department of  of Justice  notified the
                                           Justice notified  the White
                                                                 White House     counsel of
                                                                         House counsel    of the
                                                                                             the situation.
                                                                                                 situation. The    White House
                                                                                                              The White  House
counsel briefed
counsel briefed the
                  the president
                      president and
                                  and aa small
                                          small group
                                                 group ofof his
                                                            his senior
                                                                senior advisors.
                                                                        advisors. The  White House
                                                                                   The White             counsel reviewed
                                                                                               House counsel      reviewed and
                                                                                                                             and
determined that
determined  that there
                  there is
                        is not
                           not an
                                an illegal
                                   illegal issue,
                                            issue, but
                                                   but rather
                                                       rather aa trust
                                                                 trust issue.
                                                                       issue. During
                                                                              During this
                                                                                     this process,
                                                                                           process, it's
                                                                                                     it's important
                                                                                                          important to
                                                                                                                     to note
                                                                                                                        note the
                                                                                                                             the
president did
president did not
              not have
                   have his
                         his attorney
                             attorney general,
                                       general, Jeff  Sessions, who
                                                 Jeff Sessions,   who he
                                                                       he trusts
                                                                          trusts immensely,
                                                                                 immensely, approved
                                                                                              approved by  by the
                                                                                                              the Senate.
                                                                                                                  Senate.

When the
When    the president
             president heard
                       heard the
                               the information
                                    information as
                                                 as presented
                                                    presented byby White
                                                                    White House
                                                                          House counsel,
                                                                                   counsel, he
                                                                                             he instinctively
                                                                                                 instinctively thought
                                                                                                                 thought that
                                                                                                                           that
General Flynn
General         did not
          Flynn did not do
                        do anything    wrong and
                            anything wrong    and the
                                                  the White
                                                      White House    counsel's review
                                                             House counsel's   review corroborated
                                                                                       corroborated that.
                                                                                                     that. It is not
                                                                                                           It is  not ordinary
                                                                                                                      ordinary
for an
for an incoming
       incoming national
                  national security
                           security advisor
                                     advisor to
                                             to speak
                                                speak with
                                                      with his
                                                           his counterparts
                                                               counterparts about
                                                                             about the
                                                                                    the issues
                                                                                        issues of
                                                                                               of concern
                                                                                                  concern toto them.
                                                                                                                them. In  fact,
                                                                                                                       In fact,
he spoke
he  spoke with
           with over
                over 30
                     30 of
                        of his
                           his counterparts   throughout the
                               counterparts throughout   the transition.
                                                             transition.

As Charles
As  Charles Krauthammer
             Krauthammer said      last night,
                              said last night, it
                                                it was
                                                   was quote,   "Perfectly reasonable
                                                        quote, "Perfectly                for him
                                                                            reasonable for   him to
                                                                                                  to do  so." The
                                                                                                     do so."   The issue
                                                                                                                    issue here
                                                                                                                          here was
                                                                                                                               was
that the
that the president
         president got   to the
                     got to the point
                                point where
                                      where General       Flynn's relationship
                                                General Flynn's    relationship --
                                                                                 -- misleading
                                                                                    misleading the
                                                                                                the vice
                                                                                                    vice president
                                                                                                          president and
                                                                                                                      and others
                                                                                                                          others or
                                                                                                                                 or
the possibility
the possibility that
                that he
                     he had
                         had forgotten   critical details
                              forgotten critical          of this
                                                  details of this important
                                                                  important conversation
                                                                              conversation had
                                                                                             had created
                                                                                                  created aa critical
                                                                                                              critical mass
                                                                                                                       mass and  an
                                                                                                                            and an
unsustainable situation.
unsustainable   situation. That's  why the
                            That's why  the president
                                              president decided
                                                         decided toto ask  for his
                                                                      ask for  his resignation
                                                                                   resignation and
                                                                                               and he
                                                                                                    he got
                                                                                                        got it.
                                                                                                            it.

The irony
The  irony of
            of this
               this entire
                    entire situation  is that
                           situation is  that the
                                              the president
                                                   president has
                                                              has been
                                                                   been incredibly
                                                                          incredibly tough
                                                                                      tough on
                                                                                             on Russia.
                                                                                                Russia. He    continues to
                                                                                                          He continues   to raise
                                                                                                                            raise the
                                                                                                                                   the
issue of
issue  of Crimea
          Crimea which
                    which the
                            the previous
                                 previous administration    allowed to
                                            administration allowed    to bebe seized
                                                                              seized byby Russia.
                                                                                          Russia. His    ambassador to
                                                                                                    His ambassador     to the
                                                                                                                          the United
                                                                                                                              United
Nations, Nikki
Nations,   Nikki Haley,   stood before
                  Haley, stood            the U.N.
                                  before the   U.N. Security
                                                     Security Council
                                                               Council onon her
                                                                             her first
                                                                                 first day
                                                                                       day and   strongly denounced
                                                                                            and strongly   denounced thethe Russian
                                                                                                                             Russian
occupation of
occupation    of Crimea.
                 Crimea. AsAs Ambassador
                               Ambassador Haley
                                              Haley said
                                                      said at
                                                           at the
                                                              the time,
                                                                  time, to
                                                                         to quote,
                                                                            quote, "Dire
                                                                                    "Dire situation
                                                                                          situation in
                                                                                                     in eastern
                                                                                                        eastern Ukraine   is one
                                                                                                                 Ukraine is  one that
                                                                                                                                  that
demands clear
demands     clear and
                   and strong
                        strong condemnation
                                 condemnation of  of Russian
                                                     Russian actions."
                                                                actions." President
                                                                           President Trump    has made
                                                                                       Trump has    made itit very
                                                                                                              very clear
                                                                                                                   clear he
                                                                                                                         he expects
                                                                                                                             expects
the Russian
the Russian government
                government to   to de-escalate
                                   de-escalate violence
                                                  violence in
                                                            in the
                                                                the Ukraine    and return
                                                                     Ukraine and     return Crimea.
                                                                                             Crimea. AtAt the
                                                                                                          the same
                                                                                                               same time,
                                                                                                                      time, he
                                                                                                                             he fully
                                                                                                                                 fully
expects to
expects   to and    wants to
              and wants    to be
                               be able
                                   able to
                                         to get
                                            get along
                                                along with
                                                        with Russia,
                                                              Russia, unlike   previous administrations,
                                                                       unlike previous    administrations, so so that
                                                                                                                 that we
                                                                                                                      we can
                                                                                                                           can solve
                                                                                                                                solve
many problems
many   problems together
                   together facing
                              facing the
                                     the world
                                          world such
                                                 such as
                                                       as the
                                                          the threat
                                                               threat of
                                                                      of ISIS  and terrorism.
                                                                          ISIS and  terrorism.

The president
The   president is
                is currently
                   currently evaluating  a group
                              evaluating a group of
                                                  of very
                                                     very strong
                                                           strong candidates
                                                                   candidates that
                                                                                that will
                                                                                     will be
                                                                                          be considered
                                                                                             considered to
                                                                                                        to fill
                                                                                                           fill the
                                                                                                                the national
                                                                                                                    national
security advisor
security  advisor position
                   position permanently
                              permanently and
                                            and is
                                                 is confident
                                                     confident inin the
                                                                    the ability
                                                                         ability of
                                                                                  of General
                                                                                     General Kellogg,   a decorated
                                                                                               Kellogg, a  decorated andand
distinguished veteran
distinguished  veteran of
                        of the
                           the United
                               United States
                                      States Army,
                                             Army, until
                                                    until that
                                                          that person
                                                               person is
                                                                      is ultimately
                                                                         ultimately chosen.
                                                                                     chosen.

Before II get
Before    get into
              into the
                   the president's
                       president's schedule   for today,
                                   schedule for   today, aa quick
                                                            quick recap
                                                                   recap of
                                                                         of the
                                                                            the president's
                                                                                 president's activity
                                                                                             activity over
                                                                                                      over the
                                                                                                           the last
                                                                                                               last few
                                                                                                                     few days
                                                                                                                         days
since we
since  we haven't
           haven't had
                   had the
                        the honor
                            honor of
                                   of sharing
                                      sharing so
                                               so much
                                                  much time
                                                         time together.
                                                               together. The  president's been
                                                                         The president's  been keeping
                                                                                                keeping a   close eye
                                                                                                         a close        on the
                                                                                                                   eye on  the
Oroville Dam
Oroville  Dam situation
                situation in
                          in California.
                             California. We've
                                          We've worked
                                                  worked closely    with Doug
                                                           closely with  Doug LaMalfa,     who represents
                                                                                LaMalfa, who    represents California's
                                                                                                              California's 1st
                                                                                                                           1st
District, where
District, where the
                 the dam's
                     dam's located
                           located and   other state
                                    and other  state officials
                                                     officials to
                                                               to help
                                                                  help people
                                                                       people who
                                                                               who have
                                                                                    have been
                                                                                         been impacted.
                                                                                               impacted.

The situation
The  situation is
               is a
                  a textbook
                    textbook example
                                example ofof why
                                             why we
                                                 we need
                                                      need toto pursue
                                                                pursue a a major
                                                                            major infrastructure
                                                                                  infrastructure package
                                                                                                 package inin Congress.
                                                                                                              Congress. Dams,
                                                                                                                         Dams,
bridges, roads
bridges,  roads and
                 and all  ports around
                      all ports  around the
                                         the country
                                             country have
                                                      have fallen
                                                            fallen into
                                                                   into disrepair.
                                                                         disrepair. In order to
                                                                                    In order to prevent
                                                                                                prevent the
                                                                                                        the next
                                                                                                             next disaster,
                                                                                                                  disaster, we'll
                                                                                                                            we'll
pursue the
pursue   the president's
             president's vision
                           vision for
                                   for an
                                       an overhaul
                                          overhaul ofof our
                                                        our nations
                                                             nations crumbling
                                                                      crumbling infrastructure.
                                                                                  infrastructure. We
                                                                                                  We hope
                                                                                                      hope everyone
                                                                                                             everyone remains
                                                                                                                       remains
safe as
safe as the
         the evacuations    continue and
             evacuations continue      and we
                                           we will
                                               will be
                                                    be working
                                                       working alongside
                                                                 alongside with
                                                                             with FEMA
                                                                                  FEMA andand appropriate   government entities
                                                                                               appropriate government   entities
to make
to make sure
          sure that
               that we
                    we are
                         are doing
                             doing everything   we can
                                     everything we  can to
                                                         to attend
                                                            attend to
                                                                    to this
                                                                       this matter.
                                                                            matter.

The president
The  president was
               was honored
                     honored also    to welcome
                                also to welcome the
                                                  the prime
                                                      prime minister
                                                              minister of
                                                                       of Japan last week,
                                                                          Japan last week, from
                                                                                             from their
                                                                                                   their first
                                                                                                         first official
                                                                                                               official meeting
                                                                                                                        meeting at
                                                                                                                                at
the White
the White House,
           House, toto their
                       their joint
                             joint press
                                   press conference   at Mar-a-Lago
                                          conference at   Mar-a-Lago --   excuse me,
                                                                       -- excuse  me, their
                                                                                       their joint
                                                                                             joint press
                                                                                                   press conference
                                                                                                           conference andand their
                                                                                                                              their
time together
time  together at
                at Mar-a-Lago.
                     Mar-a-Lago. The      president and
                                    The president           prime minister
                                                     and prime     minister had
                                                                             had a   productive visit
                                                                                  a productive      visit that
                                                                                                          that reaffirmed
                                                                                                                 reaffirmed their
                                                                                                                              their
determination to
determination  to further
                  further strengthen
                          strengthen thethe U.S.-Japan
                                            U.S.-Japan alliance
                                                         alliance and
                                                                  and economic
                                                                       economic relationship.
                                                                                 relationship.
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                   White House
                   White House Press Secretary Sean
                               Press Secretary Sean Spicer
                                                    Spicer holds
                                                           holds his
                                                                 his daily
                                                                     daily briefing
                                                                           briefing with
                                                                                    with reporters.
                                                                                         reporters.

At Mar-a-Lago,
At Mar-a-Lago, the
                the president
                    president was
                               was proud
                                   proud to
                                          to stand
                                              stand behind   Prime Minister
                                                      behind Prime           Abe, on
                                                                    Minister Abe, on Saturday,
                                                                                      Saturday, to
                                                                                                 to convey
                                                                                                     convey the
                                                                                                            the United
                                                                                                                United
States' unwavering
States'            support for
        unwavering support  for Japanese  allies in
                                Japanese allies  in the
                                                    the face
                                                        face of
                                                             of North
                                                                North Korea's
                                                                      Korea's most
                                                                              most recent
                                                                                   recent missile
                                                                                           missile launch.
                                                                                                   launch. On Sunday,
                                                                                                           On Sunday,
the president
the president met
              met with
                  with now, Secretary of
                       now, Secretary of Treasury
                                         Treasury Mnuchin     and Mr.
                                                     Mnuchin and      Steve Wynn
                                                                  Mr. Steve  Wynn before
                                                                                   before returning
                                                                                          returning to
                                                                                                     to Washington.
                                                                                                        Washington.

SPICER: Yesterday,
SPICER:    Yesterday, the
                       the president
                           president set
                                      set --  had an
                                          -- had  an incredibly
                                                      incredibly productive    set of
                                                                   productive set   of meetings
                                                                                       meetings and
                                                                                                 and discussions
                                                                                                      discussions with
                                                                                                                  with Prime
                                                                                                                       Prime
Minister Trudeau
Minister  Trudeau ofof Canada,   focusing on
                       Canada, focusing     on our
                                                our shared
                                                     shared commitment
                                                               commitment to to close
                                                                                close cooperation
                                                                                        cooperation in
                                                                                                     in addressing
                                                                                                         addressing both
                                                                                                                     both the
                                                                                                                          the
challenges facing
challenges   facing our
                    our two
                        two countries
                            countries and
                                       and the
                                             the problems
                                                 problems facing
                                                             facing throughout
                                                                     throughout the
                                                                                 the world.
                                                                                      world. Our countries share
                                                                                             Our countries  share a profound
                                                                                                                  a profound
economic interests,
economic   interests, with
                      with more
                           more than
                                  than $2  billion into
                                       $2 billion  into a
                                                        a trade
                                                           trade going
                                                                  going across
                                                                         across the
                                                                                  the border
                                                                                       border every
                                                                                              every day.
                                                                                                    day. The   president was
                                                                                                          The president  was
pleased to
pleased  to launch
            launch the
                    the Canada-United
                        Canada-United States      Council for
                                         States Council    for the
                                                                the Advancement
                                                                    Advancement of   of Women
                                                                                        Women Entrepreneurs
                                                                                                Entrepreneurs and
                                                                                                               and Business
                                                                                                                    Business
Leaders, by
Leaders,  by holding
              holding a
                      a roundtable
                        roundtable discussion
                                    discussion here
                                                 here at the White
                                                      at the  White House.
                                                                      House.

Together with
Together with Prime
                Prime Minister
                          Minister Trudeau,    his daughter
                                    Trudeau, his    daughter Ivanka,  the president
                                                              Ivanka, the president discussed
                                                                                    discussed the
                                                                                               the unique
                                                                                                   unique challenges
                                                                                                          challenges that
                                                                                                                      that
women face
women  face in
             in the
                the workplace
                     workplace with     an incredible
                                   with an  incredible group
                                                       group of
                                                              of successful
                                                                 successful and
                                                                            and respected female business
                                                                                respected female business executives from
                                                                                                          executives from
both countries.
both countries. A
                A full
                   full list
                        list of
                             of the
                                the participants
                                    participants is
                                                 is available through the
                                                    available through the pool.
                                                                          pool.

In
In addition to his
   addition to  his in-person
                    in-person meetings  with the
                              meetings with  the prime
                                                 prime ministers
                                                        ministers of
                                                                  of Japan
                                                                     Japan and
                                                                           and Canada,  the president
                                                                               Canada, the  president also recently had
                                                                                                      also recently had
phone calls
phone  calls with
              with the
                    the presidents
                        presidents of
                                   of Tunisia,
                                      Tunisia, Peru, Nigeria, Colombia
                                               Peru, Nigeria, Colombia and
                                                                        and South
                                                                            South Africa.
                                                                                  Africa. Readouts
                                                                                          Readouts are
                                                                                                    are available
                                                                                                        available on
                                                                                                                  on all
                                                                                                                     all
of those
of those calls.
          calls.

Finally, following
Finally, following the
                    the prime
                          prime minister's
                                  minister's visit
                                             visit yesterday,   the president
                                                   yesterday, the    president met
                                                                                 met with
                                                                                       with Chairwoman
                                                                                             Chairwoman McDaniel
                                                                                                           McDaniel and and Co-
                                                                                                                             Co-
Chairman Paduchik
Chairman   Paduchik of of the
                          the Republican
                              Republican National
                                            National Committee.
                                                      Committee. InIn the
                                                                      the afternoon,
                                                                           afternoon, the
                                                                                        the president participated in
                                                                                            president participated  in a pinning
                                                                                                                       a pinning
ceremony for
ceremony    for Major Ricardo Turner,
                Major Ricardo            one of
                                Turner, one   of his
                                                 his military
                                                     military aides.
                                                              aides. The  aides to
                                                                     The aides   to the
                                                                                    the president
                                                                                         president are mid-grade officers,
                                                                                                   are mid-grade   officers, one
                                                                                                                             one
from each
from  each of
            of the
               the services.
                   services. They
                              They provide
                                    provide direct
                                             direct support
                                                     support to
                                                              to the
                                                                 the president
                                                                     president in
                                                                                in his
                                                                                   his role
                                                                                        role as commander in
                                                                                             as commander    in chief.
                                                                                                                chief. And
                                                                                                                       And their
                                                                                                                            their
primary responsibilities
primary  responsibilities are
                           are to
                               to serve
                                  serve as
                                        as an  emergency action
                                            an emergency     action officer,
                                                                    officer, aide-de-  camp and
                                                                             aide-de- camp    and ceremonial
                                                                                                  ceremonial aide.
                                                                                                               aide.

It's a longstanding
It's a longstanding tradition
                    tradition that
                              that one
                                   one of
                                       of the
                                          the president's
                                               president's military
                                                           military aides is promoted
                                                                    aides is  promoted toto the
                                                                                            the next-higher
                                                                                                next-higher grade.
                                                                                                            grade. The
                                                                                                                   The
president conducts
president  conducts that
                     that promotion.
                          promotion. Major  Ricardo Turner,
                                     Major Ricardo            the president's
                                                      Turner, the  president's military
                                                                               military aide,
                                                                                        aide, was
                                                                                              was recently
                                                                                                  recently promoted
                                                                                                           promoted to
                                                                                                                    to
lieutenant colonel
lieutenant colonel and the promotion
                   and the  promotion was
                                      was held
                                           held in
                                                in the
                                                   the Oval Office.
                                                       Oval Office.

The president
The  president also
                also spoke
                      spoke yesterday
                             yesterday with
                                        with Maureen
                                             Maureen Scalia
                                                      Scalia on
                                                             on the
                                                                the one-year
                                                                     one-year anniversary
                                                                                anniversary of
                                                                                            of her
                                                                                                her husband's
                                                                                                    husband's passing.
                                                                                                                passing.
The president
The  president and
                 and Mrs.   Scalia discussed
                      Mrs. Scalia            her late
                                   discussed her late husband's
                                                      husband's incredible
                                                                 incredible legacy
                                                                             legacy and
                                                                                      and how
                                                                                          how the
                                                                                               the president
                                                                                                    president is
                                                                                                              is making
                                                                                                                 making
every effort
every effort to
             to carry
                carry it
                      it on
                         on by
                            by nominating
                               nominating Judge
                                          Judge Gorsuch,
                                                 Gorsuch, who
                                                          who shares
                                                               shares the
                                                                       the love
                                                                           love of
                                                                                 of the
                                                                                    the Constitution, to succeed
                                                                                        Constitution, to succeed him
                                                                                                                 him on
                                                                                                                     on
the bench.
the bench.

Last night,
Last  night, the
             the president
                  president obviously    hosted the
                             obviously hosted     the swearing-in
                                                      swearing-in of  Secretary Mnuchin
                                                                   of Secretary  Mnuchin inin the
                                                                                              the Oval Office. Secretary
                                                                                                  Oval Office. Secretary
Mnuchin is
Mnuchin   is a
             a world-
               world- class financier whose
                      class financier   whose decades
                                              decades ofof experience
                                                           experience with
                                                                       with financial
                                                                            financial and
                                                                                      and monetary
                                                                                          monetary matters
                                                                                                   matters make
                                                                                                           make him
                                                                                                                 him the
                                                                                                                     the
ideal person
ideal  person toto spearhead
                   spearhead the the president's
                                      president's plan
                                                   plan to
                                                        to develop
                                                            develop aa dynamic,
                                                                       dynamic, booming
                                                                                   booming economy
                                                                                             economy that
                                                                                                      that works
                                                                                                           works for
                                                                                                                  for all
                                                                                                                      all
Americans. We're
Americans.   We're glad
                    glad to
                         to officially
                            officially have
                                       have him
                                            him on
                                                 on board.
                                                    board.

Now, moving
Now,  moving onon to
                   to the
                      the schedule
                          schedule today,
                                     today, this
                                             this morning
                                                  morning the
                                                           the president
                                                                president and   newly confirmed
                                                                          and newly   confirmed Secretary
                                                                                                  Secretary ofof Education
                                                                                                                 Education
DeVos held
DeVos   held aa parent-teacher
                 parent-teacher conference
                                  conference meeting
                                               meeting with
                                                        with parents
                                                              parents and
                                                                       and educators
                                                                            educators from
                                                                                       from public,
                                                                                             public, private,
                                                                                                     private, charter
                                                                                                               charter and
                                                                                                                        and
home schools
home   schools this
                 this morning.
                      morning. The     president opened
                                 The president    opened thethe meeting
                                                                 meeting byby congratulating
                                                                               congratulating Secretary
                                                                                              Secretary DeVos
                                                                                                          DeVos forfor her
                                                                                                                        her
toughness and
toughness         staying the
             and staying   the course
                                course throughout
                                        throughout her
                                                     her confirmation
                                                         confirmation process.
                                                                        process. HeHe then
                                                                                      then discussed    his vision
                                                                                            discussed his    vision for
                                                                                                                     for all
                                                                                                                         all
Americans to
Americans   to have
               have an
                     an opportunity
                        opportunity to
                                     to climb
                                        climb the
                                              the ladder
                                                  ladder of
                                                         of success,
                                                             success, starting
                                                                      starting with
                                                                               with making
                                                                                    making quality
                                                                                            quality education
                                                                                                    education available  to
                                                                                                               available to
every child
every child no
            no matter
                matter their
                       their ZIP
                             ZIP code.
                                 code.

Under the
Under   the current
              current system,
                      system, the
                              the president
                                  president believes  too many
                                             believes too  many of
                                                                 of our  children are
                                                                    our children      trapped in
                                                                                  are trapped  in failing
                                                                                                  failing schools,
                                                                                                          schools, especially
                                                                                                                     especially
in the
in the African
        African American
                 American community.
                            community. The   president told
                                        The president   told the
                                                             the group
                                                                 group to
                                                                        to begin
                                                                           begin addressing   this problem
                                                                                  addressing this   problem which
                                                                                                              which hehe views
                                                                                                                         views
as a
as  a civil
      civil rights
            rights issue.
                   issue. He
                          He wants
                             wants parents
                                   parents to
                                            to be
                                               be able
                                                  able to
                                                       to decide
                                                          decide what
                                                                  what educational   options are
                                                                        educational options       best for
                                                                                             are best   for their
                                                                                                            their children.
                                                                                                                  children.

The group
The group launched
          launched into
                    into a
                         a wide-ranging
                           wide-ranging discussion that included
                                        discussion that included public
                                                                 public and
                                                                        and charter
                                                                              charter schools,
                                                                                      schools, home
                                                                                               home schooling,
                                                                                                    schooling, drop-
                                                                                                               drop-
out prevention,
out prevention, and
                 and the
                      the BASIS
                           BASIS schools   program; states'
                                  schools program;   states' responsibilities;
                                                              responsibilities; and   the current
                                                                                and the   current state
                                                                                                  state of
                                                                                                        of the
                                                                                                           the U.S.
                                                                                                                U.S.
Department of
Department     Education.
            of Education.
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

The president's
The  president's ultimate
                 ultimate goal    is to
                            goal is  to create
                                        create safe
                                               safe communities,
                                                    communities, great
                                                                 great schools,
                                                                       schools, and
                                                                                 and well-paying
                                                                                      well-paying jobs.
                                                                                                  jobs. He
                                                                                                        He believes
                                                                                                            believes that
                                                                                                                      that
each of
each  of these
         these goals
               goals is
                      is linked
                         linked to
                                 to the
                                     the others,
                                         others, and
                                                 and the
                                                     the Trump administration is
                                                         Trump administration is taking
                                                                                 taking concrete
                                                                                        concrete steps
                                                                                                  steps to
                                                                                                        to achieve  them
                                                                                                           achieve them
all.
all.

The president
The president also spoke on
              also spoke  on the
                             the phone
                                 phone earlier  today with
                                        earlier today        Prime Minister
                                                        with Prime   Minister May of the
                                                                              May of the United
                                                                                         United Kingdom,   continuing the
                                                                                                 Kingdom, continuing  the
productive conversation
productive conversation they
                        they started during her
                             started during her visit
                                                 visit earlier this year.
                                                       earlier this       A readout
                                                                    year. A readout on
                                                                                    on that
                                                                                       that call
                                                                                            call should
                                                                                                 should be
                                                                                                        be coming
                                                                                                           coming soon.
                                                                                                                   soon.

The president
The   president then
                 then had
                      had lunch
                           lunch with
                                 with New
                                       New Jersey
                                            Jersey Governor
                                                   Governor Chris
                                                              Chris Christie
                                                                    Christie and his wife
                                                                             and his      regarding combating
                                                                                     wife regarding  combating drug   use.
                                                                                                                 drug use.
At two
At  two o'clock,
         o'clock, the
                  the president
                      president will
                                 will sign
                                      sign House
                                           House Joint  Resolution 41
                                                  Joint Resolution  41 in
                                                                       in the
                                                                          the Oval
                                                                              Oval Office.  The resolution
                                                                                    Office. The  resolution is
                                                                                                            is the
                                                                                                               the start
                                                                                                                   start of
                                                                                                                         of
rolling back
rolling back harmful
               harmful Obama-era
                       Obama-era regulations
                                    regulations which
                                                which have
                                                       have cost
                                                            cost the
                                                                 the American
                                                                     American businesses
                                                                               businesses and
                                                                                            and consumers
                                                                                                 consumers a  a staggering
                                                                                                                staggering
$890 billion,
$890   billion, making
                making our
                       our companies
                            companies less
                                        less competitive,
                                             competitive, and
                                                          and even
                                                              even driving
                                                                   driving some  of them
                                                                           some of  them out
                                                                                          out of
                                                                                              of business.
                                                                                                 business.

The American
The American free
               free enterprise   system is
                      enterprise system  is the
                                            the greatest
                                                greatest engine
                                                         engine for
                                                                for economic
                                                                    economic prosperity
                                                                               prosperity in
                                                                                           in the
                                                                                              the world.
                                                                                                  world. But
                                                                                                         But it
                                                                                                             it --
                                                                                                                -- for
                                                                                                                   for too
                                                                                                                       too
many --
many -- to
        to reach
           reach its
                  its maximum
                      maximum potential,
                                 potential, we
                                            we must
                                               must remove
                                                    remove the
                                                            the barriers
                                                                barriers to
                                                                         to productivity
                                                                            productivity that
                                                                                         that are
                                                                                              are holding
                                                                                                  holding back
                                                                                                          back our
                                                                                                                our great
                                                                                                                     great
workers and
workers and businesses.
             businesses.

Misguided federal
Misguided  federal regulations
                    regulations such
                                such as
                                      as the
                                         the SEC
                                             SEC rule
                                                   rule addressed
                                                         addressed by  by HJR
                                                                           HJR 4141 inflict
                                                                                     inflict real
                                                                                             real cost
                                                                                                  cost on
                                                                                                        on the
                                                                                                            the American
                                                                                                                 American people
                                                                                                                             people
and put
and put our
         our businesses,
             businesses, especially    small businesses,
                            especially small  businesses, at at aa significant
                                                                    significant disadvantage.
                                                                                 disadvantage. It's     a priority
                                                                                                   It's a  priority for
                                                                                                                    for the
                                                                                                                        the Trump
                                                                                                                             Trump
administration to
administration to fix
                  fix our
                      our broken regulatory system
                          broken regulatory          so that
                                             system so   that it
                                                               it enhances    American productivity
                                                                  enhances American        productivity and
                                                                                                          and well
                                                                                                               well being,
                                                                                                                    being, without
                                                                                                                             without
imposing unnecessary
imposing  unnecessary costs
                        costs and
                              and burdens.
                                   burdens. Signing
                                             Signing this
                                                      this joint
                                                           joint resolution
                                                                  resolution is
                                                                              is one
                                                                                 one more
                                                                                      more step
                                                                                              step towards
                                                                                                   towards achieving
                                                                                                              achieving this
                                                                                                                          this goal.
                                                                                                                               goal.

Later this
Later  this evening,  the president
            evening, the   president will
                                        will meet
                                             meet with
                                                    with Secretary
                                                         Secretary Kelly
                                                                     Kelly and
                                                                            and Attorney
                                                                                  Attorney General     Sessions to
                                                                                            General Sessions      to continue
                                                                                                                      continue
discussions on
discussions  on potential
                 potential options
                           options for
                                     for addressing
                                         addressing the
                                                      the very
                                                          very clear
                                                                clear national
                                                                      national security
                                                                                security threats
                                                                                         threats we're
                                                                                                 we're facing
                                                                                                        facing in
                                                                                                                in light
                                                                                                                   light of
                                                                                                                         of the
                                                                                                                            the
recent Supreme
recent  Supreme Court
                  Court ruling.
                        ruling. Tomorrow,
                                 Tomorrow, the the president
                                                   president is
                                                             is pleased
                                                                pleased to
                                                                         to be
                                                                            be welcoming
                                                                                welcoming Israeli
                                                                                            Israeli Prime
                                                                                                    Prime Minister   Benjamin
                                                                                                           Minister Benjamin
Netanyahu to
Netanyahu   to the
               the White
                   White House.     They will
                          House. They     will discuss ways to
                                               discuss ways  to advance
                                                                advance and
                                                                          and strengthen   the special
                                                                               strengthen the           relationship between
                                                                                               special relationship   between
our two
our two countries
         countries and
                   and stability in the
                       stability in the Middle
                                         Middle East.
                                                 East.

They will
They  will consult
           consult on
                    on a  range of
                        a range  of issues
                                    issues --
                                           -- regional
                                               regional issues,
                                                        issues, including
                                                                 including addressing
                                                                            addressing the
                                                                                       the threats
                                                                                           threats posed
                                                                                                   posed by
                                                                                                         by Iran and its
                                                                                                            Iran and its
proxies, the
proxies, the crisis
             crisis in
                    in Syria,
                       Syria, and
                              and countering
                                  countering ISIS   and other
                                              ISIS and  other terrorist
                                                              terrorist groups.
                                                                        groups.

As the
As  the president
        president has
                    has made
                         made clear,
                                 clear, his
                                        his administration
                                            administration will
                                                           will work
                                                                work to
                                                                     to achieve   comprehensive agreement
                                                                        achieve comprehensive                  that would
                                                                                                   agreement that   would end
                                                                                                                            end
the Israeli-Palestinian
the                        conflict so
     Israeli-Palestinian conflict   so that
                                        that Israelis
                                             Israelis and  Palestinians can
                                                      and Palestinians  can live
                                                                              live in
                                                                                   in peace
                                                                                      peace and   security. The
                                                                                             and security.       way forward
                                                                                                            The way     forward
toward that
toward   that goal
               goal will
                    will also be discussed
                         also be   discussed between
                                               between the
                                                        the president
                                                             president and
                                                                       and the
                                                                            the prime
                                                                                 prime minister.
                                                                                        minister. They will hold
                                                                                                  They will hold a  joint press
                                                                                                                 a joint  press
conference tomorrow
conference    tomorrow as as well
                             well and
                                  and further
                                       further guidance
                                               guidance will
                                                         will be
                                                              be coming
                                                                 coming on
                                                                         on the
                                                                            the time
                                                                                 time and location.
                                                                                      and location.

Looking ahead
Looking  ahead to
                to Friday,
                    Friday, the
                            the president
                                president will
                                            will travel
                                                 travel to
                                                        to Charleston,
                                                           Charleston, South
                                                                         South Carolina
                                                                                Carolina toto attend
                                                                                              attend the
                                                                                                       the rollout
                                                                                                            rollout of
                                                                                                                     of the
                                                                                                                        the first
                                                                                                                            first
Boeing 787-10
Boeing  787-10 Dreamliner.
                Dreamliner. This
                              This visit
                                   visit will
                                          will give
                                               give the
                                                     the president
                                                          president an    opportunity to
                                                                    an opportunity     to celebrate
                                                                                           celebrate aa huge
                                                                                                          huge milestone
                                                                                                                 milestone forfor
thousands of
thousands  of workers
              workers atat Boeing,
                           Boeing, America's
                                   America's number
                                                 number one
                                                          one exporter
                                                               exporter in
                                                                         in the
                                                                            the millions
                                                                                millions of
                                                                                          of American
                                                                                             American workers
                                                                                                         workers involved
                                                                                                                    involved inin
aerospace. This
aerospace.       trip has
           This trip  has been
                          been months
                                months in
                                        in the
                                           the making
                                                making and
                                                         and we're
                                                             we're thrilled
                                                                   thrilled to
                                                                            to celebrate
                                                                               celebrate the
                                                                                          the rollout
                                                                                              rollout of this amazing
                                                                                                      of this            plane.
                                                                                                              amazing plane.

With that,
With that, I'd be glad
           I'd be glad to
                       to take
                          take some
                               some of your questions.
                                    of your questions.

Jonathan Karl?
Jonathan Karl?

QUESTION: Back
QUESTION:     Back in
                   in January,  the president
                      January, the  president said
                                                said that
                                                     that nobody
                                                          nobody in
                                                                  in his
                                                                     his campaign
                                                                         campaign had
                                                                                  had been
                                                                                      been in
                                                                                            in touch with the
                                                                                               touch with the Russians.
                                                                                                              Russians.
Now today,
Now  today, can
             can you
                  you still
                      still say
                            say definitively
                                definitively that
                                             that nobody
                                                  nobody onon the
                                                              the Trump    campaign, not
                                                                   Trump campaign,   not even
                                                                                         even General   Flynn, had
                                                                                               General Flynn,  had any
                                                                                                                    any
contact with
contact with the
             the Russians
                 Russians before
                            before the
                                   the election?
                                        election?

SPICER: My
SPICER:      understanding is
         My understanding    is what
                                what General
                                     General Flynn    has now
                                               Flynn has  now expressed   is that
                                                                expressed is that during
                                                                                  during the
                                                                                         the transition
                                                                                             transition period
                                                                                                        period --
                                                                                                               -- well,
                                                                                                                  well, we
                                                                                                                        we
were very
were very clear that during
          clear that during the
                            the transition
                                transition period,
                                           period, he
                                                   he did
                                                      did -- he did
                                                          -- he did speak
                                                                    speak with
                                                                          with the
                                                                               the ambassador.
                                                                                   ambassador.

QUESTION: I'm
QUESTION:     talking about
          I'm talking about during
                            during the
                                   the campaign.
                                       campaign.

SPICER: II don't
SPICER:     don't have
                   have any
                        any --
                             -- II -- there's nothing
                                   -- there's nothing that
                                                      that would conclude me
                                                           would conclude    that anything
                                                                          me that anything different
                                                                                           different has
                                                                                                     has changed
                                                                                                         changed with
                                                                                                                 with
respect to
respect to that
           that time
                time period.
                     period.
             Case 1:17-cr-00232-EGS Document 225-12 Filed 06/10/20 Page 7 of 16
                   White House
                   White House Press Secretary Sean
                               Press Secretary Sean Spicer
                                                    Spicer holds
                                                           holds his
                                                                 his daily
                                                                     daily briefing
                                                                           briefing with
                                                                                    with reporters.
                                                                                         reporters.

QUESTION: And
QUESTION:     And why
                   why would
                        would the
                              the president
                                  president --
                                            -- if
                                               if he
                                                   he was
                                                      was notified
                                                            notified 17
                                                                     17 days ago that
                                                                        days ago  that Flynn had misled
                                                                                       Flynn had misled the
                                                                                                        the vice
                                                                                                            vice president
                                                                                                                 president
and other
and other officials
          officials and
                    and that
                        that he
                             he was
                                was a
                                    a potential
                                      potential threat
                                                  threat to
                                                         to (ph)
                                                            (ph) blackmail
                                                                  blackmail by
                                                                            by the
                                                                               the Russians,
                                                                                   Russians, why
                                                                                              why would
                                                                                                  would he
                                                                                                         he be
                                                                                                            be kept
                                                                                                               kept on
                                                                                                                    on for
                                                                                                                       for
almost three
almost three weeks?
              weeks?

SPICER: Well,
SPICER: Well, that's
              that's -- that's not
                     -- that's not -- that assumes
                                   -- that         a lot
                                           assumes a lot of things that
                                                         of things that are
                                                                        are not
                                                                            not true.
                                                                                true.

The president
The  president was
                was informed
                    informed of   this, he
                               of this, he asked    the White
                                             asked the   White House   counsel to
                                                                House counsel    to review
                                                                                    review the
                                                                                            the situation.
                                                                                                situation. The first matter
                                                                                                           The first matter was
                                                                                                                            was
whether there
whether  there was
                was a
                    a legal
                      legal issue.
                            issue. We    had to
                                    We had     to review
                                                  review whether
                                                          whether there
                                                                   there was
                                                                          was a
                                                                              a legal
                                                                                 legal issue,
                                                                                        issue, which the White
                                                                                               which the  White House
                                                                                                                House counsel
                                                                                                                        counsel
concluded there
concluded   there was
                  was not.
                       not. As
                            As II stated
                                  stated inin my
                                              my comments,
                                                   comments, this
                                                               this was
                                                                    was anan act  of trust.
                                                                             act of  trust. Whether
                                                                                            Whether or
                                                                                                     or not
                                                                                                        not he
                                                                                                             he actually misled
                                                                                                                actually misled
the vice
the vice president  was the
         president was   the issue,
                              issue, and
                                      and that
                                             that was
                                                  was ultimately
                                                        ultimately what
                                                                   what led
                                                                         led to
                                                                             to the
                                                                                 the president
                                                                                      president asking
                                                                                                asking for
                                                                                                         for and
                                                                                                             and accepting
                                                                                                                  accepting the
                                                                                                                             the
resignation of
resignation  of General
                General Flynn.
                        Flynn. That's   it. Pure
                                That's it.  Pure and
                                                  and simple,
                                                       simple, it
                                                               it was
                                                                  was a matter of
                                                                      a matter  of trust.
                                                                                   trust.

We went
We  went through
          through a
                  a very
                    very deliberative
                          deliberative process,
                                       process, a   very thorough
                                                  a very thorough review.
                                                                  review. The first part
                                                                          The first  part of
                                                                                          of it
                                                                                             it was
                                                                                                was clearly
                                                                                                    clearly to
                                                                                                            to understand
                                                                                                               understand
the legal
the legal aspect
          aspect of this, and
                 of this,  and that
                                that was
                                     was simply
                                            simply concluded  there was
                                                   concluded there  was no
                                                                         no legal
                                                                            legal aspect,     and what
                                                                                    aspect, and   what happened
                                                                                                        happened is is the
                                                                                                                       the
president evaluated
president evaluated the
                    the trust
                        trust aspect  of it.
                              aspect of  it.

Major?
Major?

QUESTION: When
QUESTION:        When the
                       the president  was asked
                            president was        on Air
                                           asked on Air Force
                                                        Force One  yesterday --
                                                               One yesterday -- II mean,
                                                                                   mean, on
                                                                                         on Friday  rather, traveling
                                                                                            Friday rather,  traveling down
                                                                                                                      down
to Mar-a-Lago
to                about reports
     Mar-a-Lago about    reports about
                                 about conversations
                                        conversations with
                                                      with the
                                                           the Russians
                                                               Russians about
                                                                        about sanctions,
                                                                               sanctions, he
                                                                                          he said,
                                                                                              said, "I
                                                                                                    "I don't
                                                                                                       don't know
                                                                                                             know about
                                                                                                                   about it.
                                                                                                                         it.
I'll look into
I'll look into that."
               that." Was
                      Was he
                           he being
                              being truthful?
                                    truthful?

SPICER: What
SPICER:   What he
               he asked
                  asked specifically
                         specifically is
                                      is was
                                         was he
                                              he aware of a
                                                 aware of   Washington Post
                                                          a Washington   Post story.
                                                                              story. He  hadn't seen
                                                                                     He hadn't  seen that
                                                                                                     that at
                                                                                                          at the
                                                                                                             the time.
                                                                                                                 time.
Of course
Of  course he
           he was
              was involved,
                   involved, II just
                                just said
                                     said that
                                          that he
                                               he was  aware of
                                                  was aware  of that
                                                                that situation right after
                                                                     situation right       the White
                                                                                     after the White House    counsel
                                                                                                      House counsel
informed him
informed him back
             back in
                  in January.
                     January.

QUESTION: And
QUESTION:    And his
                  his inquiry
                      inquiry to
                              to the
                                 the White
                                     White House
                                           House counsel
                                                 counsel was
                                                         was strictly  about the
                                                              strictly about the legalities
                                                                                 legalities involved,
                                                                                            involved, not
                                                                                                      not the
                                                                                                          the propriety
                                                                                                              propriety
of the
of the conversations
       conversations between
                     between General   Flynn and
                               General Flynn     the Russian
                                             and the Russian ambassador?
                                                             ambassador?

(CROSSTALK)
(CROSSTALK)

SPICER: Well,
SPICER: Well, initially,
              initially, just
                         just to
                              to be...
                                 be...

QUESTION: ...
QUESTION:        the merits
             ... the        of those
                     merits of those conversations
                                     conversations about
                                                   about sanctions
                                                         sanctions before
                                                                   before the
                                                                          the Trump administration had
                                                                              Trump administration had been
                                                                                                       been
inaugurated?
inaugurated?

SPICER: So
SPICER:    So just
               just to
                    to be
                        be clear,  the acting
                           clear, the  acting attorney
                                               attorney general
                                                         general informed
                                                                 informed the
                                                                           the White
                                                                               White House
                                                                                       House counsel    that they
                                                                                                counsel that  they wanted
                                                                                                                   wanted toto
give, quote,
give, quote, "a
              "a heads-up"
                 heads-up" to to us
                                 us on
                                    on some
                                       some comments
                                              comments that
                                                          that may
                                                               may have
                                                                     have seemed
                                                                          seemed inin conflict
                                                                                      conflict with
                                                                                               with what
                                                                                                    what he
                                                                                                         he had
                                                                                                             had said
                                                                                                                  said (ph) to
                                                                                                                       (ph) to
the vice
the vice president
          president in
                     in particular.
                        particular. The White House
                                    The White          counsel informed
                                                House counsel   informed the
                                                                          the president
                                                                              president immediately.
                                                                                         immediately. The    president asked
                                                                                                       The president    asked
them to
them   to commit
          commit a a review
                      review ofof whether
                                  whether there
                                            there was
                                                   was a  legal situation
                                                        a legal situation there.
                                                                          there. That  was immediately
                                                                                 That was    immediately determined
                                                                                                          determined there
                                                                                                                         there
wasn't. That
wasn't.        was what
         That was          the president
                    what the    president believed
                                           believed at
                                                     at the
                                                        the time
                                                            time from
                                                                  from what
                                                                        what he
                                                                             he had
                                                                                 had been
                                                                                      been told
                                                                                             told and
                                                                                                  and he
                                                                                                      he was
                                                                                                          was proved
                                                                                                                proved toto be
                                                                                                                            be
correct.
correct.

The issue
The   issue pure
              pure and
                   and simple
                        simple came
                                came down
                                      down to
                                            to a  matter of
                                                a matter of trust
                                                            trust and
                                                                  and the
                                                                      the president
                                                                          president concluded
                                                                                    concluded that
                                                                                              that he
                                                                                                   he no
                                                                                                      no longer
                                                                                                         longer had
                                                                                                                had the
                                                                                                                    the
trust of
trust  of his
          his national
              national security
                       security adviser
                                adviser over...
                                        over...

(CROSSTALK) QUESTION:
(CROSSTALK)       QUESTION: ...     was improper
                                ... was   improper for
                                                     for the
                                                         the incoming
                                                              incoming national
                                                                        national security
                                                                                 security adviser,
                                                                                          adviser, not part of
                                                                                                   not part of an
                                                                                                               an
administration, to
administration, to be
                   be discussing
                      discussing an  issue as
                                  an issue as sensitive
                                              sensitive as
                                                        as sanctions...
                                                           sanctions...

SPICER: His
SPICER:       job is
         His job  is to
                     to discuss
                         discuss issues
                                 issues with
                                         with his
                                              his counterparts.
                                                  counterparts. II mean,
                                                                   mean, Charles      Krauthammer put
                                                                          Charles Krauthammer      put it
                                                                                                        it perfectly last night.
                                                                                                           perfectly last night.
That's what
That's       he's supposed
       what he's   supposed to to be  doing. II mean,
                                   be doing.    mean, that's
                                                       that's his
                                                              his job.
                                                                    job. That's  -- II mean,
                                                                         That's --     mean, wewe would
                                                                                                  would constantly
                                                                                                          constantly read
                                                                                                                      read out
                                                                                                                            out
throughout the
throughout  the transition
                 transition who
                              who he
                                   he was
                                       was speaking
                                             speaking to,
                                                        to, how
                                                            how he he was
                                                                       was getting
                                                                             getting ready.
                                                                                       ready. The  president was
                                                                                               The president    was receiving
                                                                                                                      receiving
congratulatory calls
congratulatory  calls from
                      from around
                            around the
                                    the world,
                                        world, we
                                               we would
                                                   would read
                                                          read out   the world
                                                               out the         leader calls.
                                                                         world leader   calls.
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                     White House
                     White House Press Secretary Sean
                                 Press Secretary Sean Spicer
                                                      Spicer holds
                                                             holds his
                                                                   his daily
                                                                       daily briefing
                                                                             briefing with
                                                                                      with reporters.
                                                                                           reporters.

The job
The   job of
          of the
              the incoming
                  incoming NSA
                            NSA is is to
                                      to sit down with
                                         sit down        the counterparts
                                                   with the  counterparts and      start that
                                                                            and start    that dialogue,
                                                                                              dialogue, and  that's exactly
                                                                                                         and that's exactly what  he
                                                                                                                            what he
did. So
did.  So the
         the question
               question wasn't
                         wasn't did
                                did hehe do  anything improper
                                          do anything  improper oror illegal,
                                                                     illegal, it's
                                                                              it's a
                                                                                   a question
                                                                                     question ofof could
                                                                                                   could he
                                                                                                         he be
                                                                                                            be trusted
                                                                                                                trusted further,
                                                                                                                        further, and
                                                                                                                                 and
the trust
the  trust or  the erosion
           or the  erosion of
                           of that
                              that trust
                                    trust was
                                          was frankly
                                               frankly the
                                                       the issue.
                                                           issue. So...
                                                                  So...

QUESTION: Did
QUESTION:     the president
          Did the           instruct him
                  president instruct him to
                                         to talk
                                            talk about
                                                 about sanctions?
                                                       sanctions?

SPICER: No,
SPICER:     absolutely not.
        No, absolutely not. No,
                            No, no, no. But
                                no, no.     that --
                                        But that -- no,
                                                    no, and there's no
                                                        and there's no --
                                                                       -- that's
                                                                          that's never...
                                                                                 never...

QUESTION: (OFF-MIKE)
QUESTION: (OFF-MIKE)

SPICER: II think
SPICER:     think the
                  the president
                      president was
                                  was -- had no
                                      -- had   no problem
                                                   problem with
                                                            with the
                                                                 the fact
                                                                     fact that
                                                                          that he
                                                                                he acted
                                                                                   acted in
                                                                                         in accord
                                                                                            accord with
                                                                                                    with what
                                                                                                         what his
                                                                                                                his job
                                                                                                                    job was
                                                                                                                        was
supposed to
supposed   to be doing. He
              be doing.      had the
                        He had    the ability
                                      ability to
                                              to talk
                                                 talk about
                                                      about issues
                                                            issues that
                                                                   that were
                                                                        were important,
                                                                               important, whether
                                                                                          whether ifs
                                                                                                  it's that
                                                                                                       that or
                                                                                                            or the
                                                                                                               the 30  other
                                                                                                                   30 other
countries that
countries that he
               he spoke
                  spoke to,
                         to, that
                             that was
                                  was part  of his
                                       part of his job
                                                   job as
                                                       as has
                                                          has been  noted by
                                                              been noted      many people.
                                                                           by many   people.

SPICER: That's
SPICER:            what the
           That's what  the national
                             national security
                                       security adviser  and frankly
                                                adviser and   frankly other positions do.
                                                                      other positions  do. They   begin the
                                                                                           They begin    the process
                                                                                                               process of
                                                                                                                       of
preparing their
preparing  their incoming
                 incoming job
                          job by
                              by talking to counterparts,
                                 talking to  counterparts, people
                                                           people have
                                                                  have previously
                                                                        previously held
                                                                                   held the
                                                                                        the job,
                                                                                            job, et cetera. If
                                                                                                 et cetera.    he had
                                                                                                            If he had not
                                                                                                                      not
done that,
done that, there
            there would be questions
                  would be questions as   to whether
                                      as to  whether he
                                                     he was
                                                         was properly
                                                             properly prepared
                                                                      prepared for
                                                                                for day one.
                                                                                    day one.

QUESTION: ...conversation
QUESTION: ...conversation about...
                          about...

SPICER: No,
SPICER:          he --
            No, he  -- the
                       the -- the
                              the -- the
                                     the issue
                                          issue isn't
                                                 isn't whether
                                                       whether or   not --
                                                                or not    -- what
                                                                             what he
                                                                                   he discussed,
                                                                                      discussed, there's
                                                                                                   there's been
                                                                                                            been aa complete
                                                                                                                    complete legal
                                                                                                                              legal
review of
review   of that,
            that, and
                  and there's
                        there's no
                                 no issue
                                      issue with
                                             with that.
                                                   that. The issue is
                                                         The issue    is whether
                                                                          whether oror not
                                                                                       not he
                                                                                            he failed
                                                                                               failed to
                                                                                                       to properly
                                                                                                          properly inform
                                                                                                                   inform the
                                                                                                                          the vice
                                                                                                                               vice
president or
president   or not
               not be
                   be honest
                       honest with
                                with him
                                       him or  not remember
                                            or not remember it.
                                                              it. But
                                                                  But that's
                                                                        that's the
                                                                               the plain
                                                                                   plain and  simple the
                                                                                         and simple   the issue,
                                                                                                          issue, and
                                                                                                                 and when
                                                                                                                      when he
                                                                                                                            he lost
                                                                                                                                lost
trust with
trust with the  president, that's
           the president,  that's when
                                   when thethe president
                                               president asked
                                                          asked for
                                                                  for and
                                                                      and received
                                                                            received his
                                                                                      his resignation.
                                                                                          resignation.

QUESTION: Thanks
QUESTION:     Thanks a a lot,
                         lot, Sean.    Yesterday Kellyanne
                              Sean. Yesterday    Kellyanne Conway,   counselor (ph)
                                                           Conway, counselor        to the
                                                                               (ph) to the president
                                                                                           president said
                                                                                                     said that
                                                                                                          that the
                                                                                                               the
president continued
president continued toto have
                         have trust
                               trust in
                                      in General
                                         General Flynn. What happened
                                                 Flynn. What  happened to
                                                                        to being
                                                                           being yesterday
                                                                                 yesterday morning
                                                                                           morning and   yesterday
                                                                                                    and yesterday
evening that
evening that led
             led the
                 the president
                     president to  lose confidence
                                to lose confidence in
                                                   in General
                                                      General Flynn?
                                                              Flynn?

SPICER: Well,
SPICER:    Well, I'm    not going
                  I'm not   going toto get
                                       get into
                                           into the
                                                 the specifics
                                                     specifics of
                                                               of what
                                                                  what the
                                                                       the presidents   thinking was,
                                                                           presidents thinking   was, but
                                                                                                        but II will
                                                                                                               will just
                                                                                                                    just say, as II
                                                                                                                         say, as
noted in
noted in the
          the opening
               opening statement,
                           statement, that
                                        that it
                                             it was
                                                was an
                                                     an evolving  and eroding
                                                        evolving and   eroding process.
                                                                               process. And
                                                                                          And soso at
                                                                                                   at the
                                                                                                      the end
                                                                                                           end ofof the
                                                                                                                     the day,
                                                                                                                          day, the
                                                                                                                               the
president made
president   made thethe decision
                          decision as    he does
                                     as he   does on
                                                   on all
                                                       all subjects
                                                           subjects and
                                                                    and -- and
                                                                           and ask
                                                                                ask for
                                                                                     for and   received the
                                                                                          and received    the national
                                                                                                               national security
                                                                                                                          security
advisor's --
advisors  -- but
             but he
                  he is
                      is one
                         one of
                              of the
                                 the people
                                      people that
                                              that we
                                                   we have
                                                      have noted
                                                            noted before
                                                                   before when
                                                                          when he
                                                                               he is
                                                                                   is ready
                                                                                      ready to
                                                                                             to make
                                                                                                make a a decision,
                                                                                                         decision, he he makes
                                                                                                                         makes it,
                                                                                                                                 it,
whether its
whether  its hiring
             hiring someone
                     someone or  or asking
                                    asking for
                                            for someone's
                                                someone's resignation.
                                                            resignation.

Once he
Once  he has
          has determined
              determined he
                          he has
                             has made
                                  made the
                                        the decision
                                            decision on
                                                     on any
                                                        any subject,
                                                            subject, that's
                                                                      that's when
                                                                             when he
                                                                                   he informs
                                                                                      informs the
                                                                                              the staff.
                                                                                                  staff. So,
                                                                                                         So, going
                                                                                                              going into
                                                                                                                    into
the day,
the day, it
         it was
            was an
                an evolving situation. He
                   evolving situation. He made
                                          made aa determination
                                                   determination late
                                                                 late in
                                                                       in the
                                                                          the day,
                                                                              day, and
                                                                                   and he
                                                                                       he executed
                                                                                           executed on
                                                                                                     on it.
                                                                                                         it. Yes,
                                                                                                             Yes, Alexis
                                                                                                                  Alexis
(ph)?
(ph)?

QUESTION: Extremely
QUESTION: Extremely (ph) loyal person,
                    (ph) loyal person, General
                                       General Flynn,
                                               Flynn, was it a
                                                      was it a difficult
                                                               difficult decision
                                                                         decision for
                                                                                  for the
                                                                                      the president
                                                                                          president to
                                                                                                    to let
                                                                                                       let General
                                                                                                           General
Flynn go?
Flynn go?

SPICER: Well,
SPICER:       Well, sure.
                    sure. II mean,
                             mean, General        Flynn is
                                      General Flynn       is a
                                                             a dedicated
                                                                 dedicated public
                                                                              public servant.
                                                                                      servant. He
                                                                                                He isis the
                                                                                                        the head
                                                                                                             head of
                                                                                                                   of the
                                                                                                                       the DIA,
                                                                                                                            DIA, he
                                                                                                                                  he has
                                                                                                                                     has been
                                                                                                                                          been
an outstanding
an  outstanding member
                    member of   of the
                                   the Army,
                                        Army, both
                                                 both as
                                                       as a a -- as
                                                                 as an
                                                                     an officer
                                                                         officer and
                                                                                 and then
                                                                                      then as
                                                                                            as aa flag
                                                                                                  flag officer.
                                                                                                        officer. He   has served
                                                                                                                 He has    served his
                                                                                                                                   his country
                                                                                                                                       country
admirably. And
admirably.     And II think
                      think the
                              the president
                                   president appreciated
                                                appreciated his  his service
                                                                      service to
                                                                               to his
                                                                                  his nation,
                                                                                      nation, his
                                                                                               his commitment
                                                                                                    commitment to   to his
                                                                                                                       his campaign
                                                                                                                           campaign and     his
                                                                                                                                       and his
service to
service    to his
              his country
                   country soso far.
                                 far. But
                                      But at
                                           at some
                                               some point,
                                                      point, thethe decision
                                                                     decision came
                                                                                came down
                                                                                       down whether
                                                                                              whether or or not
                                                                                                             not that
                                                                                                                 that that
                                                                                                                       that trust
                                                                                                                            trust had
                                                                                                                                  had eroded.
                                                                                                                                       eroded.
The important
The   important matters
                    matters asas mentioned
                                  mentioned that that are
                                                      are before
                                                            before thethe president,
                                                                          president, when
                                                                                       when he's
                                                                                              he's dealing
                                                                                                    dealing with
                                                                                                              with issues
                                                                                                                    issues ofof world
                                                                                                                                world matters,
                                                                                                                                      matters,
of all
of  all of
        of the
            the issues,
                 issues, friends
                          friends and
                                    and allies,    foes, hot
                                          allies, foes,   hot spots,
                                                                 spots, he
                                                                         he needs
                                                                             needs toto rely
                                                                                        rely on
                                                                                             on -- on
                                                                                                    on an
                                                                                                        an actual    security advisor
                                                                                                            actual security             to give
                                                                                                                               advisor to  give
them sage
them    sage (ph)
               (ph) advice.    And II think
                     advice. And       think at   some point
                                              at some    point that
                                                                  that guidance,
                                                                       guidance, that
                                                                                   that trust
                                                                                         trust eroded,
                                                                                               eroded, andand the
                                                                                                               the president,
                                                                                                                   president, as    he does
                                                                                                                                as he  does inin
all matters
all matters ultimately
               ultimately decides
                           decides that
                                      that when
                                           when he  he is
                                                       is ready
                                                           ready to to make
                                                                       make decision,
                                                                              decision, hehe executes.    Alexis (ph)?
                                                                                             executes. Alexis     (ph)?

QUESTION: Does
QUESTION:        the president
            Does the president believe
                                believe that
                                        that anything that he
                                             anything that  he discussed
                                                                discussed with
                                                                          with General
                                                                               General Flynn   during the
                                                                                        Flynn during  the transition
                                                                                                          transition
might have
might have been
           been construed
                construed byby the
                               the General
                                    General as
                                             as (inaudible)  or encouragement
                                                (inaudible) or  encouragement toto discuss
                                                                                   discuss the
                                                                                            the sanctions
                                                                                                sanctions with
                                                                                                           with the
                                                                                                                 the
Russian ambassador?
Russian ambassador? That  is question
                     That is          number one.
                             question number  one.
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

SPICER: So
SPICER:   So --
              -- and
                  and we're
                        we're going   to pause
                               going to  pause (ph).
                                               (ph). So,
                                                      So, on the first
                                                          on the  first --
                                                                        -- again,
                                                                           again, as
                                                                                   as II made
                                                                                         made clear,
                                                                                                clear, there
                                                                                                       there is
                                                                                                             is nothing
                                                                                                                nothing the
                                                                                                                        the general
                                                                                                                            general
did that
did that was
         was aa violation
                 violation of
                            of any  sort. He
                                any sort. He was
                                             was well
                                                  well within
                                                       within his
                                                              his duties
                                                                   duties toto discuss
                                                                               discuss issues
                                                                                         issues ofof common
                                                                                                     common concern
                                                                                                              concern between
                                                                                                                       between the
                                                                                                                                the
two countries.
two  countries. II will
                   will say
                        say it
                            it again,
                               again, that
                                      that what
                                           what this
                                                this come
                                                     come down
                                                           down to to is
                                                                      is as
                                                                         as aa matter
                                                                               matter ofof trust.
                                                                                           trust.

The president
The  president was
                was glad
                     glad he
                          he that
                             that he
                                   he was
                                      was out
                                           out there
                                                there conducting
                                                      conducting his
                                                                   his job,
                                                                       job, preparing
                                                                            preparing for
                                                                                      for his
                                                                                          his job,
                                                                                              job, going
                                                                                                   going backend
                                                                                                          backend forth
                                                                                                                   forth with
                                                                                                                         with
his counterparts
his counterparts throughout
                   throughout the
                                the world,   much as
                                     world, much     as the
                                                         the president
                                                              president had
                                                                         had one
                                                                              one with
                                                                                   with all
                                                                                         all the
                                                                                             the world
                                                                                                 world leaders
                                                                                                         leaders calling
                                                                                                                  calling the
                                                                                                                          the
president, congratulating
president, congratulating him,
                           him, looking
                                 looking to
                                         to set
                                            set up
                                                 up calls
                                                    calls for
                                                          for him
                                                              him once
                                                                  once he
                                                                        he was
                                                                            was inaugurated.
                                                                                inaugurated. Similarly,
                                                                                               Similarly, General Flynn was
                                                                                                          General Flynn  was
beginning that
beginning  that process
                process with
                         with his
                              his counterparts   throughout the
                                   counterparts throughout    the around
                                                                  around the
                                                                          the world.
                                                                              world.

That was
That was never
          never of
                of concern
                   concern to
                           to the
                              the president.
                                  president. From
                                             From day    one that
                                                    day one  that he
                                                                  he was
                                                                     was briefed
                                                                          briefed from
                                                                                  from the
                                                                                        the White
                                                                                            White House
                                                                                                  House counsel.
                                                                                                           counsel. The
                                                                                                                      The
issue plain
issue plain and
            and simple
                simple comedown
                       comedown to to a
                                      a matter
                                        matter of
                                               of trust.
                                                  trust. And
                                                         And once
                                                              once that
                                                                   that occurred,
                                                                        occurred, it
                                                                                   it was
                                                                                      was over.
                                                                                          over. So
                                                                                                So -- I'm sorry -- yeah,
                                                                                                      I'm sorry    yeah, II
know.
know.

QUESTION: The
QUESTION:           president is
               The president  is not
                                 not --
                                     -- does
                                        does not
                                             not believe
                                                 believe that
                                                         that any
                                                               any discussion that might
                                                                   discussion that might have
                                                                                         have taken
                                                                                               taken place,
                                                                                                     place, as  we know
                                                                                                             as we know
from intel,
from intel, it
            it did
               did on
                   on sanctions,
                      sanctions, creates
                                 creates the
                                          the problem
                                              problem for
                                                       for the
                                                           the president
                                                               president in
                                                                         in anyway.
                                                                            anyway. That  is not
                                                                                    That is  not a
                                                                                                 a problem
                                                                                                   problem that
                                                                                                            that General
                                                                                                                 General
Flynn discussed
Flynn discussed sanctions
                   sanctions with
                             with Russia.
                                  Russia.

SPICER: No,
SPICER:       there isn't.
         No, there   isn't. II can't
                               can't state
                                      state it
                                            it clearly
                                               clearly enough.
                                                        enough. There     was nothing
                                                                  There was    nothing in
                                                                                        in what
                                                                                           what General Flynn did
                                                                                                General Flynn  did in
                                                                                                                   in terms
                                                                                                                      terms of
                                                                                                                            of
conducting himself
conducting himself that
                    that was
                         was an an issue.
                                    issue. What
                                           What it it came
                                                      came down
                                                            down toto plain
                                                                      plain and  simple was
                                                                            and simple   was him
                                                                                             him misleading
                                                                                                 misleading the
                                                                                                            the vice
                                                                                                                vice president
                                                                                                                     president
and others
and others and
           and not
                not having
                    having a  a firm
                                firm grasp
                                      grasp on
                                             on his
                                                 his recollection
                                                      recollection of
                                                                   of that.
                                                                      that. That is it.
                                                                            That is it.

QUESTION: Lawmakers
QUESTION:       Lawmakers on  on Capitol
                                  Capitol Hill
                                          Hill on
                                                on both
                                                   both sides
                                                        sides of
                                                               of the
                                                                  the aisle
                                                                       aisle would
                                                                             would like
                                                                                   like to
                                                                                        to investigate
                                                                                           investigate and
                                                                                                        and probe
                                                                                                            probe oror ask
                                                                                                                       ask more
                                                                                                                           more
questions about
questions   about this.
                    this. Does
                          Does the
                                the president
                                    president hope
                                                hope to
                                                      to cooperate
                                                         cooperate with
                                                                     with those
                                                                          those investigations,
                                                                                investigations, would
                                                                                                would hehe instruct
                                                                                                           instruct members
                                                                                                                    members to
                                                                                                                             to
-- of
-- of his
      his staff
          staff to
                to work
                   work with
                         with him
                              him here,
                                   here, and   the administration
                                         and the                   to cooperate
                                                   administration to  cooperate with
                                                                                 with those
                                                                                      those investigations?
                                                                                             investigations?

SPICER: Well
SPICER:     Well -- well,  we're going
                    well, we're    going to
                                          to comply
                                              comply with   the law.
                                                      with the   law. II think
                                                                         think the
                                                                                the president
                                                                                    president feels
                                                                                               feels very
                                                                                                     very confident
                                                                                                          confident the
                                                                                                                      the review
                                                                                                                           review that
                                                                                                                                    that
was conducted
was   conducted by by White
                       White House      counsel was
                               House counsel      was very
                                                       very thorough
                                                             thorough and
                                                                        and concluded
                                                                             concluded very
                                                                                          very conclusively
                                                                                               conclusively as
                                                                                                             as he
                                                                                                                he had
                                                                                                                    had first
                                                                                                                         first come
                                                                                                                               come toto
-- instinctively
-- instinctively come
                  come toto the
                             the inclusion
                                  inclusion that
                                              that there
                                                   there was
                                                          was nothing
                                                               nothing wrong.
                                                                          wrong. SoSo you
                                                                                       you know,
                                                                                            know, people
                                                                                                   people are  free to
                                                                                                           are free  to do
                                                                                                                        do what
                                                                                                                            what they
                                                                                                                                   they
wish, but
wish,   but II think
               think that
                      that they
                           they will
                                  will find  exactly what
                                       find exactly   what the
                                                             the president
                                                                  president first
                                                                              first believed
                                                                                    believed and
                                                                                              and what
                                                                                                   what the
                                                                                                         the White
                                                                                                              White House      counsel
                                                                                                                      House counsel
concluded. And
concluded.     And frankly,
                     frankly, II believe
                                 believe a  a couple
                                               couple publications
                                                       publications even      reported there
                                                                       even reported     there was
                                                                                                was no
                                                                                                     no investigation
                                                                                                        investigation for
                                                                                                                        for a   reason
                                                                                                                             a reason
because there
because    there was
                  was not
                        not an
                            an issue
                                issue ofof law,
                                           law, it
                                                it was  an issue
                                                   was an  issue of
                                                                  of trust.
                                                                     trust. George
                                                                            George (ph)?
                                                                                      (ph)?

QUESTION: When
QUESTION:     When do
                    do you
                        you expect  to have
                             expect to have aa replacement
                                               replacement in
                                                            in place?
                                                               place? And
                                                                       And secondly,
                                                                           secondly, on
                                                                                     on another
                                                                                         another topic,
                                                                                                 topic, there
                                                                                                        there was
                                                                                                              was a
                                                                                                                  a
report yesterday
report yesterday that
                 that one
                      one of
                          of your
                             your colleagues
                                  colleagues said
                                             said the
                                                  the White
                                                      White House
                                                            House is
                                                                   is keeping
                                                                      keeping dossiers
                                                                              dossiers on
                                                                                       on reporters.
                                                                                          reporters.

SPICER: Yeah.
SPICER: Yeah.

QUESTION: Can
QUESTION:     you say
          Can you say if
                      if that's
                         that's true
                                true or
                                     or not?
                                        not?

SPICER: That
SPICER:         is absolutely
           That is absolutely not
                              not true.
                                  true. There
                                        There are no dossiers
                                              are no           being kept,
                                                      dossiers being   kept, just
                                                                               just a binder that
                                                                                    a binder that II put
                                                                                                     put right
                                                                                                         right here,
                                                                                                               here, that's
                                                                                                                     that's
about it.
about it. That was a
          That was a joke.
                     joke. Hold
                           Hold on
                                on one  second. And
                                    one second. And then,
                                                    then, I'm sorry, the
                                                          I'm sorry, the first
                                                                         first part?
                                                                                part?

QUESTION: The
QUESTION:     timetable on
          The timetable on a replacement.
                           a replacement.

SPICER: As
SPICER:   As soon
              soon -- II mean,
                         mean, just
                                 just like
                                      like the
                                           the way
                                                way hehe handled
                                                          handled this
                                                                     this situation,
                                                                          situation, the
                                                                                     the president
                                                                                         president will
                                                                                                    will meet with individuals
                                                                                                         meet with individuals and
                                                                                                                               and
when he's
when  he's ready
           ready to
                  to make
                     make a   a decision
                                decision and
                                           and hehe feels
                                                    feels as
                                                           as though    the person
                                                               though the    person is
                                                                                     is qualified
                                                                                        qualified and can properly
                                                                                                  and can  properly advise
                                                                                                                    advise him
                                                                                                                           him onon
the issue,
the issue, he'll
           he'll make    that decision.
                 make that     decision. But
                                           But that's
                                                that's all
                                                       all -- as
                                                              as all
                                                                 all decisions,
                                                                      decisions, rest
                                                                                  rest with
                                                                                       with him.
                                                                                            him. I'm  just going
                                                                                                  I'm just going to
                                                                                                                 to go
                                                                                                                     go to
                                                                                                                        to my
                                                                                                                           my first
                                                                                                                               first
Skype seat.
Skype  seat. John
             John Huck
                   Huck of of WKVVU
                              WKVVU out  out of
                                             of Las
                                                 Las Vegas.
                                                     Vegas.

QUESTION: Thank
QUESTION:      Thank you
                       you so   much on
                             so much   on behalf
                                          behalf of
                                                 of our
                                                    our viewers
                                                         viewers here
                                                                    here in
                                                                          in southern
                                                                             southern Nevada
                                                                                        Nevada forfor the
                                                                                                       the opportunity
                                                                                                            opportunity to
                                                                                                                         to join
                                                                                                                            join you
                                                                                                                                 you
today. As
today.  As you
            you know,
                 know, Sean,
                        Sean, Las
                                Las Vegas
                                     Vegas has
                                            has suffered    terribly in
                                                 suffered terribly   in the
                                                                        the last
                                                                             last recession,
                                                                                  recession, more
                                                                                               more soso than
                                                                                                          than perhaps
                                                                                                                perhaps any
                                                                                                                          any other
                                                                                                                               other
city in
city in the
        the country.
             country. As
                       As the
                           the administration   moves forward
                                administration moves    forward with
                                                                   with repealing
                                                                         repealing financial
                                                                                     financial regulations
                                                                                                regulations and
                                                                                                              and possible
                                                                                                                    possible rolling
                                                                                                                              rolling
back Dodd-Frank,
back  Dodd-Frank, whatwhat guarantees
                            guarantees can
                                         can you
                                             you make
                                                  make toto Nevadans
                                                            Nevadans thatthat those
                                                                               those actions
                                                                                      actions won't
                                                                                               won't lead
                                                                                                      lead banks
                                                                                                            banks and
                                                                                                                    and investment
                                                                                                                        investment
banks to
banks   to reengage
           reengage with
                       with the
                            the risky
                                risky financial
                                      financial behaviors
                                                behaviors that
                                                            that tanked
                                                                 tanked ourour economy
                                                                                economy thethe last
                                                                                               last time
                                                                                                    time and
                                                                                                           and left
                                                                                                               left taxpayers
                                                                                                                    taxpayers here
                                                                                                                                here
on the
on  the hook
        hook to
              to bail
                 bail those
                      those banks
                             banks out?
                                    out?
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                     White House
                     White House Press Secretary Sean
                                 Press Secretary Sean Spicer
                                                      Spicer holds
                                                             holds his
                                                                   his daily
                                                                       daily briefing
                                                                             briefing with
                                                                                      with reporters.
                                                                                           reporters.

SPICER: Thanks,
SPICER:                John. II think
            Thanks, John.       think one  of the
                                      one of  the things,
                                                   things, if
                                                            if you   look at
                                                               you look   at the
                                                                              the intent
                                                                                   intent of
                                                                                          of Dodd-Frank,
                                                                                             Dodd-Frank, it  it was
                                                                                                                was to
                                                                                                                     to make
                                                                                                                        make sure
                                                                                                                             sure that
                                                                                                                                   that we
                                                                                                                                        we
didn't have
didn't  have institutions
              institutions that
                            that were
                                  were too
                                        too big
                                            big to
                                                 to fail.
                                                    fail. And
                                                          And frankly,
                                                                frankly, it
                                                                         it has
                                                                            has actually   created institutions
                                                                                  actually created   institutions that
                                                                                                                   that are
                                                                                                                        are now
                                                                                                                            now too
                                                                                                                                 too big
                                                                                                                                     big to
                                                                                                                                          to
fail. Dodd-Frank
fail.  Dodd-Frank actually
                     actually diddid exactly
                                      exactly the
                                               the opposite
                                                     opposite of  of what
                                                                      what it
                                                                            it intended
                                                                                intended toto do
                                                                                               do and
                                                                                                   and II think
                                                                                                           think when
                                                                                                                   when you
                                                                                                                          you look
                                                                                                                              look at   the
                                                                                                                                    at the
regulation HJR
regulation   HJR 41,41, the
                        the president's
                             president's signing
                                           signing today,
                                                     today, this
                                                              this is
                                                                    is another
                                                                       another example
                                                                                  example of of the
                                                                                                the president
                                                                                                    president taking
                                                                                                                 taking decisive
                                                                                                                        decisive action
                                                                                                                                  action to
                                                                                                                                          to
roll back
roll  back regulations
           regulations that
                          that are
                                are frankly
                                    frankly creating
                                             creating more
                                                        more of of aa burden
                                                                      burden on on our
                                                                                    our nation's
                                                                                        nation's banks
                                                                                                   banks and
                                                                                                           and businesses
                                                                                                                 businesses than
                                                                                                                             than helping
                                                                                                                                   helping
them.
them.

II think
   think the
          the president's
              president's going
                            going to
                                   to be
                                      be very
                                           very clear
                                                 clear with
                                                        with making   sure that
                                                             making sure    that we
                                                                                 we do
                                                                                    do things
                                                                                       things that
                                                                                              that build
                                                                                                    build up
                                                                                                          up the
                                                                                                             the goal
                                                                                                                 goal of what Dodd-
                                                                                                                      of what Dodd-
Frank actually
Frank     actually intended
                   intended toto do.
                                 do. But
                                      But right
                                            right now,
                                                  now, wewe actually  through Dodd-Frank
                                                             actually through   Dodd-Frank put    taxpayers more
                                                                                            put taxpayers    more on  the hook
                                                                                                                   on the hook than
                                                                                                                                than
we let
we    let them
          them off.  We've created
                off. We've   created more
                                      more institutions
                                               institutions and
                                                            and created
                                                                 created more
                                                                          more guarantees
                                                                                 guarantees for
                                                                                             for the
                                                                                                 the federal
                                                                                                     federal government
                                                                                                              government to
                                                                                                                          to bail
                                                                                                                             bail out
                                                                                                                                  out
some of
some     of these
            these institutions
                   institutions if
                                if they
                                   they -- if
                                           if they
                                              they exceed    their authority.
                                                    exceed their   authority.

QUESTION: Let
QUESTION:         me come
              Let me  come back
                             back to
                                   to what
                                      what you
                                            you said
                                                 said at
                                                      at the
                                                         the beginning.      You said
                                                                 beginning. You         the White
                                                                                  said the  White House     Counsel's Office
                                                                                                   House Counsel's      Office
reviewed this
reviewed  this and
                and determined
                     determined that
                                 that there
                                       there was
                                              was nothing
                                                   nothing illegal.
                                                               illegal. What
                                                                        What evidence
                                                                              evidence diddid they
                                                                                              they look
                                                                                                    look at
                                                                                                          at in
                                                                                                              in making
                                                                                                                 making this
                                                                                                                          this
determination? And
determination?   And secondly,
                     secondly, Democrats
                               Democrats up up on
                                                on the
                                                   the Hill
                                                       Hill say    that they
                                                            say that    they want
                                                                             want an
                                                                                   an investigation
                                                                                      investigation of
                                                                                                     of this.
                                                                                                        this. They're looking
                                                                                                              They're looking
into what
into what did the president
          did the           know and
                  president know and when
                                      when did
                                             did he
                                                 he know
                                                    know it.
                                                           it.

So can
So can you
       you tell
           tell us,  whatever it
                us, whatever  it is
                                 is you
                                    you looked
                                        looked at,
                                               at, at
                                                    at the
                                                       the White
                                                           White House
                                                                 House Counsel's
                                                                       Counsel's Office, and what
                                                                                 Office, and what did
                                                                                                  did the
                                                                                                      the president
                                                                                                          president
know about
know about all
           all of
               of this
                  this and
                       and when
                           when was
                                 was he
                                      he aware
                                         aware of
                                               of it?
                                                   it?

SPICER: Well
SPICER:     Well as
                  as II mentioned,
                         mentioned, the
                                     the first
                                          first day
                                                day that
                                                    that the
                                                         the Department
                                                             Department of of Justice
                                                                              Justice made
                                                                                      made White
                                                                                            White House
                                                                                                    House Counsel     available -- or
                                                                                                           Counsel available       or
sought to
sought   to notify
            notify White
                   White House
                             House Counsel
                                    Counsel was was January   26. The
                                                     January 26.       president was
                                                                  The president   was immediately
                                                                                       immediately informed
                                                                                                     informed of
                                                                                                               of the
                                                                                                                  the situation.
                                                                                                                      situation. As
                                                                                                                                  As
II said,
   said, based
         based onon the
                    the information
                           information that
                                        that was
                                              was provided
                                                    provided at  the time,
                                                              at the time, his
                                                                            his view
                                                                                view was
                                                                                      was that
                                                                                          that this
                                                                                               this was
                                                                                                    was not
                                                                                                          not a
                                                                                                              a violation.
                                                                                                                violation. He  was
                                                                                                                           He was
proved instinctively
proved   instinctively correct
                          correct and
                                  and White
                                       White House
                                                House Counsel
                                                       Counsel atat that
                                                                    that time
                                                                         time undertook
                                                                               undertook an
                                                                                         an extensive    review both
                                                                                             extensive review    both of
                                                                                                                       of materials
                                                                                                                          materials
and questioning
and   questioning -- I'm   not going
                       I'm not  going to
                                      to get  into the
                                         get into  the specifics.
                                                       specifics.

What II will
What    will tell
             tell you  is, on
                  you is,  on multiple
                              multiple occasions,
                                        occasions, they
                                                     they had
                                                           had an
                                                                an exhaustive
                                                                    exhaustive and      extensive questioning
                                                                                  and extensive    questioning of  of General
                                                                                                                      General Flynn  on
                                                                                                                               Flynn on
several occasions
several  occasions basedbased onon information
                                    information that
                                                  that was
                                                        was provided
                                                             provided to  to them
                                                                             them oror materials
                                                                                         materials that
                                                                                                     that were
                                                                                                           were provided
                                                                                                                  provided to
                                                                                                                            to them
                                                                                                                                them to
                                                                                                                                      to
review. I'm
review.       not going
        I'm not    going to
                          to get
                             get into
                                 into the
                                      the details  of that
                                           details of that but
                                                           but II will
                                                                  will just
                                                                       just say
                                                                            say that
                                                                                that there
                                                                                      there was
                                                                                             was an
                                                                                                  an exhaustive
                                                                                                      exhaustive review.
                                                                                                                    review. And
                                                                                                                            And again,
                                                                                                                                  again,
the thing
the thing that's   important to
           that's important    to note
                                  note is
                                        is the
                                           the vice
                                               vice president,
                                                     president, myself
                                                                  myself -- in
                                                                             in fact,
                                                                                fact, II think
                                                                                         think the
                                                                                               the first
                                                                                                   first time
                                                                                                         time II brought
                                                                                                                 brought this
                                                                                                                          this issue
                                                                                                                               issue up
                                                                                                                                     up
was January
was  January 13.13.

The Department
The   Department of of Justice
                       Justice didn't    notify the
                                 didn't notify   the White
                                                     White House   or the
                                                            House or  the White
                                                                          White House
                                                                                House Counsel
                                                                                       Counsel at  that time
                                                                                                at that time inin the
                                                                                                                  the transition
                                                                                                                      transition
phase until
phase   until 13  days later.
              13 days   later. So
                               So II think
                                     think it's
                                            it's important
                                                  important to
                                                            to understand
                                                               understand something
                                                                          something very,
                                                                                    very, very
                                                                                          very important.
                                                                                               important. This     idea of,
                                                                                                             This idea  of, why
                                                                                                                            why
did it
did it take
       take so
            so long?
                long? II think
                         think the
                                the first
                                     first question
                                           question should    be, where
                                                      should be,  where was
                                                                         was the
                                                                             the Department of Justice
                                                                                 Department of Justice inin this?
                                                                                                            this? They   were --
                                                                                                                   They were
they were
they  were aware
            aware of   this.
                    of this.

We were
We  were making
          making statements     based on
                  statements based     on what
                                           what General
                                                 General Flynn  was telling
                                                          Flynn was  telling us
                                                                             us starting
                                                                                 starting on
                                                                                          on January
                                                                                               January 13.
                                                                                                       13. The vice president
                                                                                                           The vice  president
went out
went  out on
          on the
             the 15th,  right? They
                 15th, right?        didn't notify
                               They didn't  notify the
                                                   the White
                                                       White House  Counsel's office
                                                             House Counsel's      office until
                                                                                         until January 26. At
                                                                                               January 26. At that
                                                                                                              that time,
                                                                                                                   time, there
                                                                                                                         there
was an
was  an immediate
        immediate -- the
                      the president
                           president was  immediately informed
                                     was immediately    informed of that and
                                                                 of that  and -- and
                                                                                 and then
                                                                                       then asked
                                                                                            asked the
                                                                                                   the White
                                                                                                       White House
                                                                                                              House Counsel
                                                                                                                      Counsel
to conduct
to conduct a
           a very,
              very, very
                    very thorough
                          thorough review.
                                   review.

The first
The  first part
           part of
                of that
                   that review
                        review was     focused on
                                 was focused        whether or
                                                 on whether   or not
                                                                 not there
                                                                     there was
                                                                           was any
                                                                                any legal
                                                                                     legal issue.
                                                                                           issue. That's   it. Once
                                                                                                  That's it.        that became
                                                                                                               Once that became
the issue,
the issue, then
            then there
                  there was
                        was -- it
                               it shifted  into phase
                                  shifted into  phase two
                                                       two which
                                                           which is
                                                                  is whether
                                                                     whether or
                                                                             or not
                                                                                not there
                                                                                    there was
                                                                                           was trust
                                                                                               trust still
                                                                                                     still maintained
                                                                                                           maintained and
                                                                                                                       and that
                                                                                                                           that --
then that
then  that became
           became a  a separate
                       separate set
                                  set of
                                       of issues
                                          issues that
                                                  that were...
                                                       were...

QUESTION: ...I
QUESTION:         understand. I'm
             ...I understand.     just speaking
                              I'm just speaking to
                                                to the
                                                   the actual
                                                       actual evidence that the
                                                              evidence that the FBI has transcripts
                                                                                FBI has transcripts of
                                                                                                    of these
                                                                                                       these intercepts
                                                                                                             intercepts
which II assume
which    assume were
                  were done
                       done by
                            by the
                                the NSA...
                                    NSA...

SPICER: ...Right...
SPICER:             QUESTION: ...Via
        ...Right... QUESTION:   ...Via a
                                       a FISA
                                         FISA Court  order. Did
                                               Court order. Did -- was there any
                                                                   was there any communication between the
                                                                                 communication between the White
                                                                                                           White
House Counsel's
House Counsel's Office
                 Office and
                        and the
                            the FBI that those
                                FBI that those transcripts
                                               transcripts ever
                                                           ever entered...
                                                                entered...

SPICER: ...I
SPICER:  ...I -- II will
                    will say obviously the
                         say obviously  the -- there
                                               there was  obviously communication
                                                     was obviously                  between the
                                                                    communication between     the Department
                                                                                                  Department of of Justice and
                                                                                                                   Justice and
the White
the White House
            House Counsel's
                         Counsel's Office.
                                    Office. I'm
                                             I'm not
                                                  not going  to get
                                                       going to get into
                                                                     into the
                                                                          the specific  nature of
                                                                               specific nature     that. II think
                                                                                                of that.    think it
                                                                                                                  it would
                                                                                                                     would be
                                                                                                                            be
inappropriate because
inappropriate   because of  of the
                               the nature
                                   nature of
                                          of the
                                              the information
                                                  information that
                                                              that was
                                                                   was being
                                                                        being discussed.
                                                                              discussed.
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

Yes?
Yes?

QUESTION: Why
QUESTION:     Why not
                    not dismiss
                        dismiss the
                                the general
                                    general on
                                             on January
                                                January 27th?  Why, if
                                                         27th? Why,  if the
                                                                        the question
                                                                             question was
                                                                                      was of trust and
                                                                                          of trust and immediately,
                                                                                                       immediately, you
                                                                                                                    you
know, you
know,  you have
            have January
                   January 15th,  he's on
                            15th, he's on Face
                                          Face the
                                                 the Nation saying that
                                                     Nation saying that ---- Vice
                                                                             Vice President
                                                                                  President Pence   on Face
                                                                                             Pence on   Face the
                                                                                                              the Nation
                                                                                                                  Nation
saying that
saying that this
            this is
                 is what
                    what General
                          General Flynn told me.
                                  Flynn told me. And
                                                  And then
                                                      then January 26th, you
                                                           January 26th,    you hear
                                                                                hear the
                                                                                     the opposite.
                                                                                         opposite. Why
                                                                                                   Why not
                                                                                                        not immediately
                                                                                                            immediately
act? Why
act? Why wait
          wait another
                another two-and-a-half
                         two-and-a-half weeks?
                                        weeks?

SPICER: II don't
SPICER:           understand how
           don't understand    how that's
                                   that's aa due process. There
                                             due process. There was
                                                                 was aa --
                                                                        -- because
                                                                            because what  the attorney
                                                                                     what the           general didn't
                                                                                               attorney general didn't
come in
come in --
        -- the
           the acting
                acting attorney general come
                       attorney general  come in
                                               in and
                                                  and say
                                                      say that
                                                          that there
                                                               there was
                                                                     was an   issue. She
                                                                           an issue. She said, "wanted to
                                                                                         said, "wanted  to give
                                                                                                           give you
                                                                                                                you a
                                                                                                                    a
heads-up that
heads-up that there
               there may
                     may be
                          be information."
                             information." OK?
                                           OK?

There was
There  was --  she could
            -- she could not
                         not confirm
                             confirm there
                                      there was
                                            was an
                                                an investigation.
                                                    investigation. And
                                                                    And so
                                                                        so it
                                                                            it would
                                                                               would be
                                                                                     be unbelievably
                                                                                        unbelievably short-sighted
                                                                                                     short-sighted and
                                                                                                                   and
wrong to
wrong  to go
          go in
              in and
                 and dismiss
                     dismiss someone
                             someone immediately.
                                        immediately. In
                                                     In fact,
                                                        fact, what the president
                                                              what the president did
                                                                                  did was
                                                                                      was take
                                                                                          take decisive
                                                                                               decisive action
                                                                                                        action to
                                                                                                               to make
                                                                                                                  make
sure that
sure that the
          the White
               White House
                     House counsel  thoroughly reviewed
                            counsel thoroughly reviewed and    vetted the
                                                          and vetted  the situation.
                                                                          situation.

That was
That was --
         -- he
            he took
               took immediate
                     immediate decisive
                                decisive action.
                                          action. And
                                                  And ifif you
                                                            you look
                                                                 look at
                                                                      at the
                                                                         the timeline
                                                                             timeline in
                                                                                      in terms
                                                                                         terms of
                                                                                                of what
                                                                                                   what he
                                                                                                        he did
                                                                                                           did and
                                                                                                                and how
                                                                                                                    how that
                                                                                                                          that
expanded, the
expanded,  the White
               White House    counsel's first
                      House counsel's   first and
                                              and foremost
                                                   foremost goal
                                                               goal was
                                                                     was to
                                                                          to make
                                                                             make sure
                                                                                    sure that
                                                                                         that there
                                                                                              there was
                                                                                                     was not
                                                                                                         not a
                                                                                                             a legal
                                                                                                               legal issue
                                                                                                                     issue at
                                                                                                                            at
hand. Once
hand.       that was
      Once that  was concluded,
                      concluded, then
                                  then it
                                       it became
                                          became a  a phase
                                                      phase of  of determining
                                                                   determining whether
                                                                                whether oror not
                                                                                             not the
                                                                                                 the general's
                                                                                                     general's action
                                                                                                               action on
                                                                                                                       on this
                                                                                                                          this
and a
and a whole
      whole host
             host of
                  of other
                     other issues
                           issues undermined
                                  undermined hishis trust
                                                    trust in
                                                           in the
                                                              the president.
                                                                   president.

That's --
That's    but the
       -- but the president  from day
                   president from day one,
                                      one, from
                                            from minute
                                                 minute one,
                                                           one, was
                                                                was unbelievably
                                                                     unbelievably decisive
                                                                                     decisive and
                                                                                              and asking  for and
                                                                                                   asking for       demanding
                                                                                                              and demanding
that his
that his White
         White House
                House counsel
                         counsel and
                                 and their
                                     their team
                                           team review
                                                review thethe situation,
                                                              situation, first
                                                                         first and foremost to
                                                                               and foremost   to question
                                                                                                 question whether
                                                                                                          whether it's
                                                                                                                     it's a legal
                                                                                                                          a legal
issue. And
issue. And what
            what they
                   they immediately
                        immediately determined
                                     determined ---- not
                                                     not immediately,
                                                         immediately, but
                                                                        but within
                                                                             within several
                                                                                    several days,
                                                                                            days, was
                                                                                                   was that
                                                                                                        that after
                                                                                                             after review,
                                                                                                                   review, that
                                                                                                                             that
there was
there was not
           not aa legal
                  legal issue
                        issue and
                              and then
                                  then it
                                       it moved
                                          moved into
                                                 into a  second phase.
                                                      a second    phase.

QUESTION: Sean,
QUESTION: Sean, the
                the president
                    president tweeted
                              tweeted last
                                      last -- this morning,
                                           -- this          the real
                                                   morning, the real story
                                                                     story is
                                                                           is leaks
                                                                              leaks --
                                                                                    -- illegal...
                                                                                       illegal...

SPICER: It
SPICER:      is leaks.
          It is leaks. But
                         But if
                             if you  think about
                                you think   about this,
                                                   this, understand
                                                         understand that
                                                                     that all
                                                                          all of  this information
                                                                               of this information was    leaked. II mean,
                                                                                                    was leaked.      mean, I've   got to
                                                                                                                             I've got to
-- and
-- and again,
       again, II know
                 know we've
                         we've got
                                 got this
                                     this me
                                          me lecturing
                                               lecturing you
                                                          you about
                                                              about what
                                                                    what stories
                                                                          stories should
                                                                                    should be,
                                                                                            be, but
                                                                                                but II think
                                                                                                       think that
                                                                                                             that there's
                                                                                                                  there's a   real story
                                                                                                                            a real story
here. The
here.  The idea
             idea that
                     that not
                           not just
                                 just in
                                       in this
                                          this administration,
                                                 administration, but
                                                                 but the
                                                                       the Obama        administration, going
                                                                           Obama administration,          going back
                                                                                                                  back toto the
                                                                                                                             the Bush
                                                                                                                                   Bush
administration and
administration   and back,
                        back, that
                               that we
                                    we have
                                         have anan issue
                                                    issue where
                                                           where classified
                                                                 classified information,
                                                                              information, of
                                                                                            of which
                                                                                               which this
                                                                                                        this would
                                                                                                             would be,
                                                                                                                     be, is
                                                                                                                         is handled
                                                                                                                            handled inin
such a
such  a way
        way that
              that it
                   it is
                      is being
                         being given
                                given out.
                                        out.

And II know
And     know in
              in some
                 some cases
                        cases it's
                               it's a
                                    a good
                                      good story,
                                            story, and
                                                   and II understand
                                                          understand that,
                                                                      that, and that's to
                                                                            and that's  to some
                                                                                           some degree
                                                                                                 degree your
                                                                                                        your responsibility
                                                                                                             responsibility to
                                                                                                                            to
write that.
write  that. But
             But II think
                    think there's
                          there's also
                                   also aa story
                                           story here
                                                 here with
                                                       with the
                                                             the amount
                                                                  amount of  leaks that
                                                                          of leaks  that are
                                                                                           are coming
                                                                                               coming out
                                                                                                      out of
                                                                                                          of people
                                                                                                             people that
                                                                                                                    that are
                                                                                                                          are
entrusted with
entrusted   with national
                 national security
                           security secrets
                                     secrets and
                                             and classified
                                                  classified information,
                                                             information, are leaking it
                                                                          are leaking  it out.
                                                                                          out.

That's a
That's a real
          real concern  for this
               concern for  this president,
                                 president, that
                                             that when
                                                  when he's
                                                        he's talking
                                                             talking on   the phone
                                                                      on the  phone with
                                                                                      with a world leader,
                                                                                           a world leader, that
                                                                                                           that when
                                                                                                                when he's
                                                                                                                     he's
making key
making   key decisions
              decisions that
                         that are
                              are in
                                   in the
                                      the interest
                                          interest of
                                                   of protecting
                                                      protecting this
                                                                  this country,
                                                                       country, that
                                                                                 that we
                                                                                      we have
                                                                                          have to
                                                                                               to wonder
                                                                                                   wonder whether  or not
                                                                                                           whether or not
people who
people  who work
             work for
                   for our
                       our government,
                           government, whowho are
                                               are entrusted  with classified
                                                   entrusted with   classified information
                                                                               information and
                                                                                           and decisional-based  material,
                                                                                               decisional-based material,
are leaking
are leaking that
            that information
                 information out.
                              out.

That II do
That    do believe
            believe is
                    is a
                       a big
                         big story
                             story that
                                     that should
                                          should bebe reported.
                                                      reported. II also
                                                                   also believe
                                                                         believe that
                                                                                 that the
                                                                                      the president
                                                                                          president is
                                                                                                    is rightly
                                                                                                       rightly so
                                                                                                               so very,
                                                                                                                   very, very
                                                                                                                          very
concerned about
concerned    about this,
                   this, because
                         because ifs
                                   it's not
                                        not just
                                            just something
                                                 something that
                                                            that is
                                                                  is plaguing,
                                                                     plaguing, you
                                                                                you know,
                                                                                    know, the
                                                                                           the current
                                                                                               current situation, but it
                                                                                                       situation, but it goes
                                                                                                                         goes
back to
back to the
         the Obama
             Obama administration,
                      administration, the
                                       the Bush
                                           Bush administration,
                                                  administration, the
                                                                  the Clinton
                                                                       Clinton administration.
                                                                               administration.

When we
When   we have
           have government
                  government employees that are
                             employees that are entrusted with this,
                                                entrusted with this, and then leak
                                                                     and then leak it
                                                                                   it out, that undermines
                                                                                      out, that            our
                                                                                                undermines our
national security,
national           frankly.
         security, frankly.

(CROSSTALK)
(CROSSTALK)

QUESTION: II know
QUESTION:    know you
                  you just
                      just forgot.
                           forgot.

II just
   just want
        want to
             to --
                -- II have
                      have a
                           a question,   but II want
                              question, but     want you
                                                     you to
                                                          to clarify
                                                             clarify something
                                                                     something you you just
                                                                                       just said
                                                                                            said to
                                                                                                 to John.
                                                                                                    John. Are
                                                                                                          Are you
                                                                                                              you saying
                                                                                                                  saying that
                                                                                                                         that no
                                                                                                                              no
one has
one   has read
          read the
                the transcripts
                      transcripts of the call?
                                  of the call? Or
                                                Or you just don't
                                                   you just        want to
                                                            don't want  to tell...
                                                                           tell...
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                   White House
                   White House Press Secretary Sean
                               Press Secretary Sean Spicer
                                                    Spicer holds
                                                           holds his
                                                                 his daily
                                                                     daily briefing
                                                                           briefing with
                                                                                    with reporters.
                                                                                         reporters.

SPICER: I'm
SPICER:     not --
        I'm not -- II said that I'm
                      said that I'm not going to
                                    not going to comment on it.
                                                 comment on it.

QUESTION: OK.
QUESTION:         OK. So
            OK. OK.    So my
                           my question
                              question isis about
                                            about sanctions.
                                                    sanctions. You
                                                                You were
                                                                    were very
                                                                          very specific
                                                                               specific in
                                                                                        in talking
                                                                                           talking about the sanctions
                                                                                                   about the  sanctions
against Crimea
against Crimea and   that he
                and that  he doesn't
                             doesn't want
                                      want to
                                            to lift
                                               lift them
                                                    them until
                                                          until Crimea
                                                                Crimea is
                                                                       is returned.
                                                                          returned. But
                                                                                    But the
                                                                                         the sanctions
                                                                                             sanctions that
                                                                                                       that Flynn
                                                                                                             Flynn was
                                                                                                                   was
discussing were
discussing were the
                the sanctions
                    sanctions for
                              for the
                                  the election hacking.
                                      election hacking.

SPICER: Right.
SPICER: Right.

QUESTION: That's
QUESTION:        something the
          That's something the president
                               president could
                                         could remove
                                               remove on his own
                                                      on his     if he
                                                             own if he wanted
                                                                       wanted to.
                                                                              to. Is he committed
                                                                                  Is he committed to
                                                                                                  to keeping
                                                                                                     keeping
those?
those?

SPICER: II --
SPICER:    -- II think
                 think Secretary
                       Secretary Mnuchin    commented on
                                  Mnuchin commented   on that.
                                                         that. There's no change
                                                               There's no        in our
                                                                          change in our current
                                                                                        current sanctions strategy or
                                                                                                sanctions strategy or
with Russia.
with Russia. And
              And I've
                    I've got nothing for
                         got nothing for you
                                         you on
                                             on that.
                                                that.

(CROSSTALK)
(CROSSTALK)

QUESTION: The
QUESTION:    The current story is
                 current story is leaked.
                                  leaked. What
                                          What is
                                               is the
                                                  the president
                                                      president willing
                                                                willing to
                                                                        to do
                                                                           do to
                                                                              to investigate
                                                                                 investigate further
                                                                                             further to
                                                                                                     to determine
                                                                                                        determine where
                                                                                                                  where
these leaks
these leaks are
            are coming from?
                coming from?

SPICER: Again,
SPICER:   Again, II think
                    think this
                          this goes
                               goes back   to the
                                     back to  the same  way he
                                                  same way   he negotiates.
                                                                negotiates. Telling  people what
                                                                             Telling people  what we're
                                                                                                   we're going   to do
                                                                                                           going to do to
                                                                                                                       to
cover up
cover  up additional
          additional leaks
                     leaks wouldn't
                            wouldn't be
                                     be a
                                        a very
                                           very sound strategy when
                                                sound strategy when it
                                                                     it comes
                                                                        comes to
                                                                              to making
                                                                                  making sure
                                                                                          sure that
                                                                                               that that
                                                                                                    that doesn't
                                                                                                         doesn't happen
                                                                                                                  happen
again. The
again.        president's been
        The president's   been very
                                very clear,
                                      clear, whether
                                             whether he's
                                                      he's negotiating
                                                           negotiating or
                                                                        or dealing
                                                                           dealing with
                                                                                    with an
                                                                                         an issues
                                                                                            issues like
                                                                                                     like this,
                                                                                                          this, you
                                                                                                                you don't
                                                                                                                    don't
telegraph to
telegraph  to people
              people how
                     how you're  going to
                          you're going  to handle
                                           handle it.
                                                  it.

(CROSSTALK)
(CROSSTALK)

SPICER: Hold
SPICER:      on. Trey
        Hold on. Trey gets
                      gets a followup. Everyone
                           a followup. Everyone else got one.
                                                else got one.

QUESTION: So
QUESTION: So he
             he is
                is going
                   going to
                         to take
                            take some sort of
                                 some sort of steps
                                              steps to
                                                    to investigate
                                                       investigate these
                                                                   these leaks?
                                                                         leaks?

SPICER: II would
SPICER:            just say
             would just say that
                            that the
                                 the president
                                      president is,
                                                is, as
                                                    as II said,
                                                          said, is
                                                                is clearly
                                                                   clearly upset
                                                                           upset about
                                                                                  about this.
                                                                                        this. He understands the
                                                                                              He understands   the threat
                                                                                                                   threat that
                                                                                                                          that
they pose
they  pose to
            to our
               our national
                   national security.
                            security. And
                                      And he's
                                           he's going
                                                going to to make
                                                            make sure
                                                                   sure that
                                                                         that he
                                                                              he continues
                                                                                 continues to
                                                                                            to take
                                                                                               take action
                                                                                                    action to
                                                                                                           to make
                                                                                                              make sure
                                                                                                                     sure that
                                                                                                                          that
that stops.
that stops.

Yes?
Yes?

QUESTION: Thank
QUESTION:       you.
          Thank you.

So, you've
So,  you've mentioned
            mentioned time
                         time and   time again
                               and time  again that
                                                that this
                                                     this is
                                                          is an
                                                             an issue
                                                                issue of
                                                                      of trust.
                                                                         trust. You
                                                                                You also  said that
                                                                                    also said  that it
                                                                                                    it was
                                                                                                       was an
                                                                                                            an evolving
                                                                                                               evolving issue
                                                                                                                         issue
and that
and  that the
          the issue
              issue of
                    of the
                       the trust
                            trust that
                                  that the
                                       the president
                                           president had
                                                      had for
                                                           for Flynn came down
                                                               Flynn came   down to
                                                                                  to this
                                                                                     this deception   that happened
                                                                                          deception that   happened with
                                                                                                                      with the
                                                                                                                           the
vice president
vice president also,
                also, on
                      on aa host
                            host of
                                 of whole
                                    whole other
                                           other --
                                                 -- of
                                                    of other issues.
                                                       other issues.

What were
What were the
           the other
               other issues?
                     issues? And
                             And was
                                 was the
                                     the vice
                                         vice president
                                              president of
                                                        of the
                                                           the only
                                                               only person
                                                                    person that
                                                                           that was
                                                                                was misled
                                                                                    misled by
                                                                                           by Flynn?
                                                                                              Flynn? Were
                                                                                                     Were other
                                                                                                          other
people misled?
people misled?

SPICER: II mean,
SPICER:     mean, II think
                     think stood
                           stood before
                                  before you    before and
                                          you before   and explained   what General
                                                            explained what            Flynn had
                                                                             General Flynn   had conveyed
                                                                                                  conveyed to to me.
                                                                                                                 me. II think
                                                                                                                        think
there were
there        some others
      were some     others that
                            that had
                                 had similarly
                                       similarly expressed
                                                 expressed that
                                                              that to
                                                                   to you
                                                                      you as
                                                                           as well.
                                                                              well. So
                                                                                    So you
                                                                                        you know,
                                                                                             know, that's
                                                                                                     that's why
                                                                                                            why ifs
                                                                                                                 it's others
                                                                                                                      others
because it
because  it wasn't
            wasn't just
                   just people
                        people who
                                who went
                                      went out
                                            out and
                                                 and made
                                                      made public
                                                             public pronouncements,
                                                                    pronouncements, but
                                                                                      but (ph)
                                                                                           (ph) in
                                                                                                in a
                                                                                                   a series
                                                                                                      series of
                                                                                                             of questioning
                                                                                                                questioning
that was
that     rather exhausted
     was rather exhausted over
                             over a
                                  a long
                                    long period
                                         period of
                                                 of time,
                                                    time, he
                                                          he continued
                                                             continued to
                                                                        to maintain
                                                                           maintain that
                                                                                    that had
                                                                                         had not
                                                                                             not occurred.
                                                                                                  occurred.

And II think
And    think that's
             that's where
                    where the
                           the president
                               president continued
                                           continued to
                                                      to -- that's why
                                                         -- that's why II -- the president
                                                                          -- the president was
                                                                                            was very
                                                                                                very clear
                                                                                                     clear that
                                                                                                           that it
                                                                                                                it was
                                                                                                                   was an
                                                                                                                       an
eroding issue
eroding  issue because
               because it
                        it wasn't
                           wasn't --  it was
                                   -- it was after
                                             after a
                                                   a series
                                                     series of
                                                             of issues
                                                                issues and
                                                                       and a a series
                                                                               series of
                                                                                      of statements
                                                                                         statements and
                                                                                                    and pronouncements
                                                                                                        pronouncements
that the
that the president
         president came
                    came to
                         to that
                            that conclusion.
                                 conclusion.

(CROSSTALK)
(CROSSTALK)

QUESTION: Were
QUESTION: Were there
               there other issues outside
                     other issues outside of
                                          of this
                                             this call
                                                  call and
                                                       and the
                                                           the deception
                                                               deception over
                                                                         over that
                                                                              that that
                                                                                   that led
                                                                                        led to
                                                                                            to the
                                                                                               the mistrust?
                                                                                                   mistrust?
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                     White House
                     White House Press Secretary Sean
                                 Press Secretary Sean Spicer
                                                      Spicer holds
                                                             holds his
                                                                   his daily
                                                                       daily briefing
                                                                             briefing with
                                                                                      with reporters.
                                                                                           reporters.

SPICER: II think
SPICER:    think the
                 the statement's
                     statement's very
                                 very clear, that --
                                      clear, that -- that it was
                                                     that it was this
                                                                 this in
                                                                      in a
                                                                         a series
                                                                           series of issues.
                                                                                  of issues.

With that,
With that, let
           let me
               me go
                  go to
                     to Jason Stephens (ph)
                        Jason Stephens      of the
                                       (ph) of the Federalist Paper (ph)
                                                   Federalist Paper      in Ashland,
                                                                    (ph) in Ashland, Ohio.
                                                                                     Ohio.

QUESTION: Thank
QUESTION:               you. What
                Thank you.    What our our readers
                                           readers at  the Federalist
                                                    at the  Federalist Papers  Project are
                                                                       Papers Project  are most
                                                                                           most interested
                                                                                                 interested in
                                                                                                             in is
                                                                                                                is returning
                                                                                                                    returning the
                                                                                                                              the
country to
country  to the
            the first
                  first principles
                        principles ofof Republican
                                         Republican government
                                                     government as as understood
                                                                       understood by
                                                                                   by the
                                                                                       the American
                                                                                           American founders.
                                                                                                       founders. One
                                                                                                                   One ofof those
                                                                                                                            those
principles in
principles in the
               the Declaration
                    Declaration of     Independence is
                                   of Independence     is the
                                                          the consent
                                                              consent of
                                                                       of the
                                                                          the governed,
                                                                              governed, so
                                                                                         so my
                                                                                            my question
                                                                                                question is
                                                                                                          is this.
                                                                                                             this. What
                                                                                                                   What are
                                                                                                                          are the
                                                                                                                              the
president's future
president's  future plans
                      plans for
                            for rolling
                                 rolling back
                                          back the
                                               the expensive
                                                   expensive and
                                                               and burdensome
                                                                    burdensome regulations
                                                                                 regulations of
                                                                                             of the
                                                                                                the administrative
                                                                                                     administrative state,
                                                                                                                      state, most
                                                                                                                             most
of which
of which are   the product
          are the    product of
                              of unelected,
                                 unelected, unaccountable
                                              unaccountable bureaucrats
                                                               bureaucrats who
                                                                             who never
                                                                                 never received   the consent
                                                                                        received the  consent ofof the
                                                                                                                   the governed
                                                                                                                        governed
to do
to do anything,   let alone
      anything, let   alone make
                             make law?law?

SPICER: Thanks,
SPICER: Thanks, Jason.
                Jason.

II think
   think as
         as II mentioned
               mentioned today,
                           today, the
                                   the president
                                        president in
                                                  in just
                                                     just a few minutes
                                                          a few minutes is
                                                                         is gonna
                                                                            gonna be
                                                                                   be signing
                                                                                       signing HJR41,  which is
                                                                                               HJR41, which   is one
                                                                                                                  one of
                                                                                                                      of those
                                                                                                                         those
attempts to
attempts    to roll
                roll back
                     back some
                          some onerous
                                  onerous Dodd-Frank      regulations with
                                            Dodd-Frank regulations          respect to
                                                                      with respect  to the
                                                                                        the SEC
                                                                                            SEC in
                                                                                                 in particular.
                                                                                                    particular. He's
                                                                                                                 He's going  to
                                                                                                                      going to
continue --
continue    -- last
                last week,
                      week, wewe rolled
                                  rolled out  another one
                                          out another   one of
                                                             of those
                                                                those executive   orders that
                                                                      executive orders     that ensures  that for
                                                                                                ensures that    for every
                                                                                                                    every new
                                                                                                                           new
regulation, two
regulation,    two must
                    must be
                         be (inaudible).
                             (inaudible).

The president's
The president's commitment
                commitment to
                            to rolling
                               rolling back regulation and
                                       back regulation and the
                                                            the overreach
                                                                overreach of
                                                                          of government
                                                                             government II think
                                                                                           think is
                                                                                                 is unwavering
                                                                                                    unwavering and
                                                                                                               and
unquestionable. So
unquestionable. So you're
                   you're gonna
                          gonna continue
                                 continue to
                                           to see
                                              see this
                                                  this president
                                                       president undo
                                                                 undo a lot of
                                                                      a lot of that
                                                                               that government
                                                                                    government overreach
                                                                                               overreach and
                                                                                                         and so
                                                                                                              so --
                                                                                                                 --
Jim?
Jim?

QUESTION: Yeah,
QUESTION:   Yeah, just
                  just --
                       -- quick
                          quick question.
                                question. You
                                          You said
                                              said earlier in your
                                                   earlier in your comments
                                                                   comments that
                                                                            that the
                                                                                 the president
                                                                                     president has
                                                                                               has been
                                                                                                   been incredibly
                                                                                                        incredibly
tough on
tough on Russia.
         Russia. How is that
                 How is that possible?
                             possible?

SPICER: II just...
SPICER:    just...

QUESTION: He
QUESTION:          has made
                He has    made comment     after comment
                                 comment after   comment over
                                                            over the
                                                                  the course
                                                                       course ofof the
                                                                                    the campaign,
                                                                                        campaign, the
                                                                                                   the transition
                                                                                                       transition where
                                                                                                                   where hehe
defended Vladimir
defended    Vladimir Putin.
                       Putin. He had an
                              He had an interview
                                        interview with
                                                  with Bill
                                                       Bill O'Reilly where he
                                                            O'Reilly where   he --
                                                                                 -- when
                                                                                    when he
                                                                                          he was
                                                                                             was asked if
                                                                                                        if Vladimir
                                                                                                           Vladimir Putin's
                                                                                                                    Putin's a
                                                                                                                            a
killer, he
killer, he said,
           said, well,
                 well, you
                       you know,  America hasn't
                            know, America  hasn't been that much
                                                  been that  much better
                                                                    better in
                                                                           in this
                                                                              this regard
                                                                                   regard (ph).
                                                                                          (ph).

(CROSSTALK)
(CROSSTALK)

QUESTION: Also,
QUESTION:   Also, to
                  to me
                     me it
                         it seems,
                            seems, and
                                   and II think
                                          think to
                                                to a
                                                   a lot
                                                     lot of
                                                         of Americans
                                                            Americans it
                                                                      it seems, that this
                                                                         seems, that this president
                                                                                          president has
                                                                                                    has not
                                                                                                        not been
                                                                                                            been tough
                                                                                                                 tough
on Russia,
on Russia, how
           how can
               can you
                    you say
                        say that?
                             that?

SPICER: II --
SPICER:    -- because
              because II --
                         -- II just
                               just walked
                                    walked through.
                                           through. II think
                                                       think there's
                                                             there's a
                                                                     a difference
                                                                       difference between
                                                                                  between the
                                                                                            the president
                                                                                                president wanting
                                                                                                           wanting to
                                                                                                                   to have
                                                                                                                      have
and an
and    understanding of
    an understanding      how a
                      of how     a good
                                    good relationship
                                         relationship with
                                                       with Russia  can help
                                                            Russia can  help us
                                                                              us defeat
                                                                                 defeat ISIS  and terrorism
                                                                                        ISIS and  terrorism throughout the
                                                                                                            throughout the
world.
world.

Look, the
Look, the Obama     administration tried
          Obama administration     tried to
                                         to have
                                            have aa reset
                                                    reset with
                                                          with Russia,
                                                                Russia, they
                                                                        they failed.
                                                                             failed. They   tried to
                                                                                     They tried   to tell
                                                                                                     tell Russia
                                                                                                          Russia not
                                                                                                                  not to
                                                                                                                      to invade
                                                                                                                         invade
Crimea, they
Crimea,  they failed.
               failed. This  president understands
                       This president   understands that
                                                      that ifs
                                                            it's in
                                                                 in America's
                                                                    America's national
                                                                               national and
                                                                                         and economic      interest to
                                                                                                economic interest    to have
                                                                                                                         have aa
healthy relationship.
healthy relationship. If
                      If he
                         he has
                            has a
                                a great  relationship with
                                  great relationship  with Putin
                                                           Putin and
                                                                   and Russia,
                                                                       Russia, great.
                                                                               great. If he doesn't,
                                                                                      If he  doesn't, then
                                                                                                       then he'll
                                                                                                            he'll continue
                                                                                                                  continue on.
                                                                                                                            on.

But he's
But  he's not
          not gonna   just assume
               gonna just   assume that
                                     that because
                                          because it it wasn't
                                                        wasn't able
                                                                able to
                                                                     to happen
                                                                        happen in
                                                                                in the
                                                                                    the past
                                                                                        past --
                                                                                              -- II think
                                                                                                    think you've  seen with
                                                                                                          you've seen    with Prime
                                                                                                                              Prime
Minister Abe
Minister  Abe inin particular
                   particular and
                                and others
                                     others that
                                             that the
                                                   the reset
                                                         reset that
                                                                that President
                                                                     President ---- Prime  Minister Netanyahu
                                                                                    Prime Minister                    talked about
                                                                                                         Netanyahu talked      about
tomorrow, so
tomorrow,       many of
           so many     of these
                          these countries
                                 countries from
                                           from around
                                                 around the the globe
                                                                globe are
                                                                       are looking
                                                                           looking forward
                                                                                    forward to
                                                                                             to resetting
                                                                                                 resetting the
                                                                                                             the relationships
                                                                                                                 relationships that
                                                                                                                                 that
this country
this country has
              has with  them, that
                  with them,   that they
                                    they feel
                                         feel as though they
                                              as though    they were
                                                                 were abandoned
                                                                       abandoned over
                                                                                    over the
                                                                                         the last
                                                                                              last eight
                                                                                                     eight years
                                                                                                           years and   that they
                                                                                                                 and that   they are
                                                                                                                                  are
excited about
excited  about the
                the prospect
                    prospect of
                              of a  new U.S.
                                 a new   U.S. relationship
                                              relationship under
                                                              under a
                                                                    a Trump
                                                                      Trump administration.
                                                                              administration.

So --
So     but with
    -- but with respect to Russia,
                respect to Russia, II think
                                       think the
                                             the comments
                                                 comments that
                                                          that Ambassador
                                                               Ambassador Haley
                                                                          Haley made
                                                                                made at the U.N.
                                                                                     at the U.N. were
                                                                                                 were extremely
                                                                                                      extremely
forceful and
forceful and very
             very clear
                  clear that
                        that until
                             until they...
                                   they...

QUESTION: That
QUESTION:      was Ambassador
          That was Ambassador Haley, not the
                              Haley, not the president.
                                             president.
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                     White House
                     White House Press Secretary Sean
                                 Press Secretary Sean Spicer
                                                      Spicer holds
                                                             holds his
                                                                   his daily
                                                                       daily briefing
                                                                             briefing with
                                                                                      with reporters.
                                                                                           reporters.

SPICER: She
SPICER:   She speaks     for the
                speaks for   the president,
                                  president, II speak
                                                speak for
                                                       for the
                                                           the president.
                                                               president. All
                                                                          All of
                                                                              of us
                                                                                 us in
                                                                                    in this
                                                                                       this administration
                                                                                             administration --  so all
                                                                                                             -- so  all of
                                                                                                                        of the
                                                                                                                           the
actions and
actions and all
            all of
                of the
                   the words
                       words inin this
                                  this administration
                                       administration are
                                                      are behalf
                                                          behalf and at the
                                                                 and at the direction
                                                                            direction of
                                                                                      of this
                                                                                         this president.
                                                                                              president. So
                                                                                                         So II don't
                                                                                                               don't think
                                                                                                                     think we
                                                                                                                           we
could be
could be any
         any clearer
             clearer onon the
                          the president's
                              president's commitment.
                                           commitment.

Katie (inaudible)?
Katie (inaudible)?

QUESTION: Just
QUESTION:      a quick
          Just a quick little
                       little follow-up
                              follow-up because
                                        because (inaudible) follow-ups, but...
                                                (inaudible) follow-ups, but...

SPICER: Really?
SPICER: Really?

QUESTION: But
QUESTION:     But anyway  -- no,
                  anyway --  no, the
                                 the other
                                     other question
                                           question is
                                                    is just
                                                       just getting
                                                            getting back
                                                                     back to
                                                                          to what
                                                                             what was  asked a
                                                                                   was asked     few moments
                                                                                               a few moments ago   about
                                                                                                               ago about
trust and
trust     being misled.
      and being         Are you
                misled. Are       saying that
                             you saying  that the
                                              the national
                                                  national security
                                                            security adviser
                                                                     adviser was
                                                                             was intentionally
                                                                                  intentionally misleading
                                                                                                misleading the
                                                                                                           the president,
                                                                                                               president,
the vice
the vice president,
         president, yourself
                    yourself when
                             when he
                                   he made
                                      made these
                                            these comments
                                                   comments to...
                                                               to...

(CROSSTALK)
(CROSSTALK)

SPICER: The
SPICER:          trust is
          The trust     is given
                            given by     the president,
                                     by the   president, it's
                                                           it's a
                                                                a relationship
                                                                  relationship between
                                                                                between hehe and   any individual.
                                                                                               and any individual. And
                                                                                                                    And so
                                                                                                                         so as
                                                                                                                            as II
mentioned in
mentioned  in the
               the comments,
                     comments, maybemaybe itit was
                                               was --
                                                    -- II don't
                                                          don't know
                                                                know that
                                                                      that it
                                                                           it was
                                                                              was intentional,
                                                                                  intentional, he
                                                                                               he may
                                                                                                  may have
                                                                                                      have just
                                                                                                            just forgotten
                                                                                                                 forgotten but
                                                                                                                           but at
                                                                                                                               at
some point,
some  point, trust
             trust isn't
                    isn't just
                          just --
                               -- trust...
                                  trust...

(CROSSTALK)
(CROSSTALK)

QUESTION: ...
QUESTION:     he forgot
          ... he forgot the
                        the conversation...
                            conversation...

(CROSSTALK)
(CROSSTALK)

SPICER: That's
SPICER:          the point,
         That's the  point, Jim,  is that
                            Jim, is  that at
                                          at some
                                             some point
                                                   point that
                                                         that trust
                                                              trust eroded  to a
                                                                    eroded to  a point where the
                                                                                 point where the president
                                                                                                 president did
                                                                                                           did not
                                                                                                               not feel
                                                                                                                   feel
comfortable with
comfortable with him
                 him serving
                     serving in
                              in that
                                 that position
                                      position and
                                               and asked
                                                   asked for
                                                          for and
                                                              and received
                                                                   received his
                                                                            his resignation.
                                                                                resignation.

Katie Pavlich?
Katie Pavlich?

QUESTION: Sean,
QUESTION:      Sean, on
                     on the
                        the (inaudible)  issue of
                            (inaudible) issue    of the
                                                    the eroding
                                                        eroding of
                                                                 of trust,
                                                                    trust, last
                                                                           last night
                                                                                night in
                                                                                      in General
                                                                                         General Flynn's  resignation letters,
                                                                                                  Flynn's resignation  letters,
he said
he  said he
         he inadvertently
             inadvertently briefed
                           briefed the
                                    the vice
                                        vice president-elect
                                               president-elect and
                                                                and others
                                                                     others with
                                                                              with incomplete
                                                                                   incomplete information.
                                                                                               information. Considering
                                                                                                             Considering hishis
role in
role in advising
        advising the
                 the President on national
                     President on  national security
                                             security matters,
                                                       matters, is
                                                                is the
                                                                   the White
                                                                       White House
                                                                               House concerned
                                                                                       concerned that
                                                                                                  that he
                                                                                                       he may
                                                                                                          may be
                                                                                                               be briefed
                                                                                                                   briefed the
                                                                                                                           the
President Elect,
President  Elect, Vice
                  Vice President  Elect with
                       President Elect  with incomplete
                                              incomplete information
                                                           information on
                                                                        on other
                                                                             other matters
                                                                                   matters of
                                                                                           of national
                                                                                              national security
                                                                                                       security in
                                                                                                                in addition  to
                                                                                                                   addition to
his own
his own calls
         calls with
               with Russia
                    Russia and
                           and (inaudible).
                                (inaudible).

SPICER: When
SPICER:    When you
                  you look
                        look at
                             at the
                                the team,
                                     team, ifs
                                            it's not
                                                 not one
                                                     one person
                                                         person inin isolation
                                                                     isolation Katie
                                                                                Katie (ph), it's several.
                                                                                      (ph), ifs  several. You've
                                                                                                          You've got
                                                                                                                  got --
                                                                                                                      -- you
                                                                                                                         you know
                                                                                                                               know
General Kelly
General         on the
          Kelly on  the Homeland     Security front,
                         Homeland Security      front, General
                                                       General Mattis  on the
                                                                Mattis on  the DOD    front. He's
                                                                                DOD front.   He's got
                                                                                                   got an
                                                                                                       an entire national security
                                                                                                          entire national   security
staff and
staff and apparatus
           apparatus that
                       that briefs
                             brief's him.
                                     him. You
                                          You know,
                                                 know, Director   Pompeo at
                                                        Director Pompeo      at the
                                                                                the CIA
                                                                                    CIA and     others from
                                                                                         and others    from the
                                                                                                            the DNI's
                                                                                                                 DNI's office
                                                                                                                         office that
                                                                                                                                that
come in
come   in and brief him
          and brief  him on
                          on a whole host
                             a whole   host of
                                             of issues.
                                                issues. So
                                                        So ifs
                                                           it's not
                                                                not a
                                                                    a single
                                                                      single position.
                                                                              position.

QUESTION: (Inaudible).
QUESTION: (Inaudible).

SPICER: Well
SPICER:    Well yeah,  regardless of
                 yeah, regardless  of whether
                                       whether ifs
                                                 it's a
                                                      a single
                                                         single situation, it's not
                                                                situation, ifs  not as
                                                                                     as though
                                                                                        though there's
                                                                                                 there's one  person briefing
                                                                                                         one person               him
                                                                                                                       briefing him
and the
and  the President
         President synthesizes
                    synthesizes a a lot
                                    lot of
                                        of information
                                           information both
                                                          both written
                                                                written and
                                                                         and stuff
                                                                              stuff that
                                                                                    that is
                                                                                         is briefed
                                                                                            briefed to
                                                                                                    to him
                                                                                                       him and
                                                                                                            and ultimately
                                                                                                                 ultimately it
                                                                                                                             it is
                                                                                                                                is he
                                                                                                                                   he
who makes
who   makes that
             that decision
                  decision based
                            based a   lot on
                                    a lot on what
                                              what hehe already
                                                         already knows,
                                                                  knows, what
                                                                           what wewe is
                                                                                      is presented
                                                                                         presented with.
                                                                                                     with. So  the President
                                                                                                           So the               get's
                                                                                                                    President get's
information from
information  from aa lot
                     lot of
                         of people,
                            people, Generals,    Admirals, people
                                     Generals, Admirals,      people from
                                                                       from the
                                                                             the military
                                                                                  military community,
                                                                                            community, ambassador's
                                                                                                         ambassadors people
                                                                                                                          people in in
the State
the        Department. An
     State Department.    An exhaustive
                              exhaustive team
                                           team atat the
                                                      the national
                                                           national Security
                                                                     Security Council
                                                                                Council and    then makes
                                                                                          and then   makes an    ultimate decision
                                                                                                             an ultimate   decision
based on
based   on that
           that and
                and what
                    what he
                          he already   knows to
                              already knows    to be
                                                   be the
                                                       the case.
                                                           case.

QUESTION: All
QUESTION: All right
              right go,
                    go, since
                        since you
                              you won't
                                  won't answer.
                                        answer.

QUESTION: Sean,
QUESTION: Sean, you've
                you've been asked a
                       been asked a couple
                                    couple of
                                           of times
                                              times about
                                                    about the
                                                          the transcripts
                                                              transcripts of
                                                                          of the
                                                                             the calls.
                                                                                 calls.

SPICER: Right.
SPICER: Right.
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

QUESTION: Will
QUESTION: Will the
               the White
                   White House
                         House declassify
                               declassify those
                                          those and
                                                and release
                                                    release them?
                                                            them?

SPICER: Look
SPICER:    Look II --
                   -- it
                      it is
                         is inappropriate
                            inappropriate for
                                            for me
                                                me to
                                                   to comment
                                                      comment on  on those
                                                                      those at
                                                                            at this
                                                                               this time.
                                                                                    time. Right
                                                                                           Right now
                                                                                                  now the
                                                                                                       the focus
                                                                                                           focus is
                                                                                                                 is on
                                                                                                                    on some
                                                                                                                       some of of the
                                                                                                                                  the
evolving issues
evolving  issues that
                  that are    -- that
                         are --   that were
                                       were going
                                            going around
                                                  around thethe globe
                                                                globe as   you know
                                                                        as you know ---- let
                                                                                         let me
                                                                                             me answer
                                                                                                 answer the
                                                                                                          the question.
                                                                                                              question. It is not
                                                                                                                        It is not an
                                                                                                                                   an
issue that
issue that has
            has come
                 come up. up. II think
                                 think the
                                       the President right now
                                           President right now isis focused
                                                                    focused on
                                                                             on replacing
                                                                                 replacing his
                                                                                             his national
                                                                                                 national security
                                                                                                          security advisor.
                                                                                                                   advisor. Making
                                                                                                                             Making
sure that
sure that he
           he is
              is presented
                 presented with with the
                                     the best
                                         best possible
                                              possible information
                                                        information toto make
                                                                         make these
                                                                               these key
                                                                                       key decisions.
                                                                                            decisions.

But at
But at this
        this time,
              time, we
                    we also
                       also have
                            have got
                                  got to
                                      to be
                                          be careful
                                              careful that
                                                      that we
                                                           we are  not involving
                                                               are not involving ourselves
                                                                                  ourselves in
                                                                                            in a  national security
                                                                                                a national   security --
                                                                                                                      -- and  the
                                                                                                                         and the
review as
review   as II mentioned
               mentioned was
                          was done
                              done and
                                     and then
                                           then immediately
                                                immediately last
                                                              last night
                                                                   night when   the President
                                                                         when the   President felt
                                                                                               felt it
                                                                                                    it was
                                                                                                       was time
                                                                                                           time for
                                                                                                                 for a
                                                                                                                     a decision,
                                                                                                                        decision,
made it.
made   it. That's where we
           That's where  we are
                            are in
                                in this
                                   this iteration
                                        iteration of
                                                  of the
                                                     the process.
                                                         process. If  we have
                                                                   If we have anything
                                                                               anything further
                                                                                        further for,
                                                                                                 for, we
                                                                                                       we will
                                                                                                          will update
                                                                                                               update you.
                                                                                                                       you.

QUESTION: Thank
QUESTION:              you so
               Thank you   so much    for this
                               much for   this opportunity.
                                               opportunity. I'm
                                                             I'm approximately  six miles
                                                                 approximately six  miles away
                                                                                          away from
                                                                                                 from Mar-a-Lago    right now
                                                                                                       Mar-a-Lago right   now
and the
and  the President   met with
          President met   with the
                               the Prime
                                    Prime minister
                                           minister (Abe)
                                                    (Abe) from
                                                            from Japan  and Mar-a-Lago
                                                                  Japan and  Mar-a-Lago this
                                                                                          this weekend.
                                                                                               weekend. And
                                                                                                          And beside
                                                                                                               beside giving
                                                                                                                        giving
us traffic
us traffic and  security nightmares,
           and security  nightmares, there
                                        there were
                                               were apparently
                                                    apparently conversations
                                                                 conversations that
                                                                                that took
                                                                                     took place
                                                                                          place byby telephone
                                                                                                     telephone and
                                                                                                                and with
                                                                                                                      with the
                                                                                                                           the
prime minister
prime  minister that
                 that were
                      were in
                           in a
                              a relatively
                                 relatively insecure
                                            insecure dining
                                                     dining area.
                                                              area. There's already video
                                                                    There's already  video of
                                                                                           of this
                                                                                              this surfacing. Will there
                                                                                                   surfacing. Will there be
                                                                                                                          be a
                                                                                                                             a
SCIF put
SCIF  put in
           in place
              place in
                    in these
                       these dining
                             dining areas,   these public
                                     areas, these  public places?
                                                          places?

And one
And one last
        last question,
             question, when
                       when he
                            he meets
                               meets with
                                     with Prime
                                          Prime Minister
                                                Minister Netanyahu tomorrow, will
                                                         Netanyahu tomorrow, will they
                                                                                  they be
                                                                                       be discussing moving the
                                                                                          discussing moving the
embassy and
embassy  and settlements?
              settlements?

SPICER: On
SPICER:        the second
          On the            one I'm
                   second one     I'm not
                                      not going
                                          going toto get
                                                     get ahead
                                                         ahead ofof the
                                                                    the Prime
                                                                         Prime Minister's
                                                                                Ministers discussion    with the
                                                                                           discussion with    the President.
                                                                                                                  President. We'll
                                                                                                                              We'll
have a
have  a read
        read out.
              out. After
                   After that
                         that there
                               there will
                                     will be
                                          be aa press
                                                press conference
                                                       conference at at that.
                                                                        that. With
                                                                              With respect
                                                                                   respect to
                                                                                            to the
                                                                                               the first,
                                                                                                   first, there
                                                                                                          there is
                                                                                                                is a
                                                                                                                   a SCIF
                                                                                                                     SCIF at
                                                                                                                           at Mar-
                                                                                                                              Mar-
a-Lago. And
a-Lago.  And just
              just to
                   to be
                      be clear,
                          clear, the
                                 the briefing
                                      briefing -- the President
                                               -- the  President was
                                                                  was briefed
                                                                        briefed in
                                                                                in a
                                                                                   a SCIF
                                                                                      SCIF ahead
                                                                                           ahead ofof dinner.
                                                                                                       dinner. He   went and
                                                                                                                He went       with
                                                                                                                         and with
his national
his national security
             security team,
                      team, they
                              they briefed
                                    briefed him
                                             him on
                                                  on aa situation
                                                        situation North
                                                                  North Korea.   Subsequently he
                                                                          Korea. Subsequently    he had
                                                                                                     had a a dinner,
                                                                                                             dinner, of
                                                                                                                     of which
                                                                                                                        which was
                                                                                                                              was
attended exclusively
attended               by U.S.
          exclusively by   U.S. and
                                 and Japanese      delegation members.
                                      Japanese delegation       members. At At that
                                                                               that time,
                                                                                    time, apparently
                                                                                          apparently there
                                                                                                       there was
                                                                                                              was a  photo taken,
                                                                                                                   a photo  taken,
which everyone
which              jumped to
        everyone jumped      to nefarious
                                 nefarious conclusions
                                             conclusions about      what or
                                                            about what     or may
                                                                               may not
                                                                                     not be   discussed. There
                                                                                          be discussed.             was simply
                                                                                                            There was    simply aa
discussion about
discussion  about passed
                   passed logistics,
                            logistics, where
                                       where toto host
                                                   host the
                                                        the event.
                                                            event.

And then
And  then after
           after the
                 the dinner,
                     dinner, the
                             the President
                                  President went
                                             went back
                                                   back into
                                                         into the
                                                              the SCIF
                                                                  SCIF toto get
                                                                            get a a further
                                                                                    further update
                                                                                             update from
                                                                                                     from his
                                                                                                           his team.
                                                                                                               team. So
                                                                                                                      So I'm  not
                                                                                                                          I'm not
really sure
really sure where
            where people    jump to
                    people jump    to conclusions.
                                      conclusions. There   is a
                                                    There is  a SCIF  there; it
                                                                SCIF there;   it was
                                                                                 was utilized  on two
                                                                                      utilized on  two occasions    that evening
                                                                                                        occasions that   evening
to convey
to convey toto the
                the President   by his
                     President by   his national
                                        national security   team, the
                                                 security team,    the situation
                                                                        situation inin North
                                                                                       North Korea     and then
                                                                                               Korea and    then the
                                                                                                                  the President
                                                                                                                       President
subsequently stood
subsequently    stood shoulder   to shoulder
                       shoulder to   shoulder with
                                              with the
                                                    the Japanese
                                                        Japanese President
                                                                    President to to make    sure that
                                                                                    make sure    that our  commitment to
                                                                                                       our commitment     to their
                                                                                                                             their
security and
security and stand
              stand against
                     against North   Korea was
                              North Korea  was fully
                                                fully made
                                                      made aware.
                                                             aware.

QUESTION: Actually
QUESTION:    Actually (ph),   can you
                        (ph), can you just
                                      just clarify
                                           clarify because
                                                   because II got
                                                              got a
                                                                  a little
                                                                     little turned
                                                                            turned around,
                                                                                   around, did
                                                                                           did President
                                                                                               President Trump or President
                                                                                                         Trump or President
Elect Trump
Elect Trump at  the time
             at the  time know
                            know of
                                  of General  Flynn's discussion
                                     General Flynn's  discussion of of the
                                                                        the sanctions
                                                                             sanctions while
                                                                                       while he
                                                                                             he was
                                                                                                was NSB
                                                                                                     NSB designate?
                                                                                                          designate? And
                                                                                                                     And if
                                                                                                                          if
not, when
not, when did
          did he
              he finally
                  finally learn
                          learn about
                                about (inaudible).  Why was
                                      (inaudible). Why   was he
                                                              he --  why was
                                                                  -- why    was he
                                                                                 he OK
                                                                                    OK with
                                                                                       with that?
                                                                                            that?

SPICER: So
SPICER:  So no
             no he
                he was   not aware,
                    was not  aware, as  he's not
                                     as he's not back  briefed on
                                                 back briefed   on every
                                                                    every conversation  that his
                                                                          conversation that  his national
                                                                                                 national security
                                                                                                          security team
                                                                                                                   team
has or
has or other
       other staffers.
             staffers. They
                       They were
                             were performing   their duties
                                   performing their  duties as
                                                             as other
                                                                 other people
                                                                       people were
                                                                               were in
                                                                                     in terms
                                                                                        terms of
                                                                                               of getting
                                                                                                  getting up
                                                                                                          up to
                                                                                                             to speed,
                                                                                                                 speed,
conveying with
conveying with counterparts
               counterparts and   previous members
                             and previous  members of of their
                                                         their team.
                                                               team. That
                                                                      That being
                                                                           being said
                                                                                 said when
                                                                                       when he
                                                                                             he was
                                                                                                 was made
                                                                                                      made aware
                                                                                                            aware ofof it,
                                                                                                                       it,
once the
once the White
         White House
               House Council
                       Council briefed him on
                               briefed him on concerns
                                              concerns the   Department of
                                                         the Department   of Justice had.
                                                                             Justice had.

And at
And  at that
        that point
             point as
                    as II mentioned
                          mentioned what
                                       what he
                                             he asked
                                                asked and      what he
                                                          and what  he believed
                                                                         believed at
                                                                                   at the
                                                                                       the time
                                                                                           time and
                                                                                                 and was
                                                                                                      was confirmed
                                                                                                            confirmed byby White
                                                                                                                            White
House Council
House           at least
       Council at  least at
                          at the
                             the time
                                 time it
                                       it was
                                          was confirmed
                                              confirmed by by White
                                                              White House    council was
                                                                     House council    was that
                                                                                           that there
                                                                                                there was
                                                                                                       was nono legal
                                                                                                                legal issue
                                                                                                                      issue here,
                                                                                                                            here,
discussing the
discussing the issue
               issue didn't
                       didn't violate
                              violate anything,
                                      anything, it
                                                it was
                                                    was appropriate   in the
                                                         appropriate in  the normal
                                                                             normal course
                                                                                      course of
                                                                                              of action
                                                                                                 action to
                                                                                                         to discuss
                                                                                                            discuss that.
                                                                                                                    that. And
                                                                                                                          And he
                                                                                                                              he
immediately asked
immediately  asked the
                     the White
                          White House
                                 House counsel     to further
                                          counsel to  further confirm
                                                              confirm what
                                                                       what his
                                                                             his instincts
                                                                                 instincts were
                                                                                           were at
                                                                                                 at the
                                                                                                    the time.
                                                                                                        time.

Thank you,
Thank you, guys.
           guys. Have
                 Have a great --
                      a great -- we're
                                 we're getting ready for
                                       getting ready for a
                                                         a bill-
                                                           bill- signing.
                                                                 signing. We've
                                                                          We've got
                                                                                got a bill-signing.
                                                                                    a bill-signing.

(CROSSTALK)
(CROSSTALK)

SPICER: (inaudible)
SPICER: (inaudible) a followup...
                    a followup...

(CROSSTALK)
(CROSSTALK)
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

QUESTION: Are
QUESTION:     Are you
                  you --  is the
                       -- is the administration
                                 administration undertaking
                                                undertaking any
                                                            any sort
                                                                sort of
                                                                     of effort, either Cabinet-wide
                                                                        effort, either Cabinet-wide or
                                                                                                     or like
                                                                                                        like inside
                                                                                                             inside the
                                                                                                                    the
shop, to
shop, to make
         make sure
                sure that
                     that everyone  comes forward
                          everyone comes    forward who
                                                    who had
                                                        had any
                                                             any communications
                                                                 communications withwith the
                                                                                         the Russians
                                                                                             Russians about
                                                                                                      about sanctions
                                                                                                              sanctions
or otherwise...
or otherwise...

SPICER: There
SPICER:         is no
          There is no other information. II mean,
                      other information.    mean, asas far
                                                        far as
                                                            as -- as far
                                                               -- as  far as
                                                                          as we
                                                                             we are
                                                                                 are aware,  that is
                                                                                     aware, that   is an
                                                                                                      an isolated
                                                                                                         isolated incident
                                                                                                                  incident that
                                                                                                                           that
occurred. And
occurred.  And again,
                again, the
                        the key
                             key point
                                  point in
                                         in this
                                             this isn't
                                                  isn't that
                                                         that there
                                                               there were
                                                                       were discussions.     There was
                                                                              discussions. There      was nothing
                                                                                                            nothing wrong
                                                                                                                     wrong oror
inappropriate about
inappropriate about those
                    those discussions.
                          discussions. It  purely came
                                        It purely  came down
                                                           down toto a
                                                                     a matter
                                                                       matter of
                                                                              of trust.
                                                                                 trust. That's it.
                                                                                        That's it.

Thank you,
Thank you, guys.
           guys. I'll see you
                 I'll see you tomorrow.
                              tomorrow. Happy Valentine's day.
                                        Happy Valentine's day.

END
END



Load-Date: February
Load-Date: February 14, 2017
                    14, 2017


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